 1 DONALD SPECTER – 083925
   RITA K. LOMIO – 254501
 2 MARGOT MENDELSON – 268583
   PRISON LAW OFFICE
 3 1917 Fifth Street
   Berkeley, California 94710-1916
 4 Telephone: (510) 280-2621
   Facsimile: (510) 280-2704
 5
   MICHAEL W. BIEN – 096891
 6 GAY C. GRUNFELD – 121944
   PENNY GODBOLD – 226925
 7 MICHAEL FREEDMAN – 262850
   ROSEN BIEN
 8 GALVAN & GRUNFELD LLP
   101 Mission Street, Sixth Floor
 9 San Francisco, California 94105-1738
   Telephone: (415) 433-6830
10 Facsimile: (415) 433-7104
11 LINDA D. KILB – 136101
   DISABILITY RIGHTS EDUCATION &
12 DEFENSE FUND, INC.
   3075 Adeline Street, Suite 201
13 Berkeley, California 94703
   Telephone: (510) 644-2555
14 Facsimile: (510) 841-8645
15 Attorneys for Plaintiffs
16                             UNITED STATES DISTRICT COURT
17                         NORTHERN DISTRICT OF CALIFORNIA
18                                  OAKLAND DIVISION
19 JOHN ARMSTRONG, et al.,                       Case No. C94 2307 CW
20               Plaintiffs,                     [REDACTED] DECLARATION OF
                                                 MICHAEL FREEDMAN IN SUPPORT
21         v.                                    OF MOTION TO STOP DEFENDANTS
                                                 FROM ASSAULTING, ABUSING AND
22 GAVIN NEWSOM, et al.,                         RETALIATING AGAINST PEOPLE
                                                 WITH DISABILITIES AT R.J.
23               Defendants.                     DONOVAN CORRECTIONAL
                                                 FACILITY AND EXHIBITS 1-90
24
                                                 Judge:    Hon. Claudia Wilken
25                                               Date:     May 19, 2020
                                                 Time:     2:00 p.m.
26                                               Crtrm.:   TBD, Oakland
27                                     REDACTED
28
                                                                          Case No. C94 2307 CW
     DECL. OF M. FREEDMAN ISO MOTION TO STOP DEFS. FROM ASSAULTING, ABUSING & RETALIATING
            AGAINST PEOPLE W/ DISABILITIES AT R.J. DONOVAN CORR. FACILITY—REDACTED
               1         I, Michael Freedman, declare:
               2         1.     I am an attorney duly admitted to practice before this Court. I am senior
               3 counsel to the law firm of Rosen Bien Galvan & Grunfeld LLP, counsel of record for
               4 Plaintiffs. I have personal knowledge of the facts set forth herein, and if called as a
               5 witness, I could competently so testify. I make this declaration in support of Plaintiffs’
               6 Motion to Stop Defendants from Assaulting, Abusing and Retaliating Against People with
               7 Disabilities at R.J. Donovan Correctional Facility.
               8         2.     I have worked as Plaintiffs’ counsel in Armstrong v. Newsom for most of the
               9 past ten years. I have been one of the attorneys assigned to monitor Defendants’
              10 compliance with the Americans with Disabilities Act, Rehabilitation Act, this Court’s
              11 orders, and the Armstrong Remedial Plan. In particular, I have been one of the attorneys
              12 assigned to monitor conditions at Richard J. Donovan Correctional Facility (“RJD”) in San
              13 Diego. I conducted my first monitoring tour at RJD in November 2010. Since then, I have
              14 been to RJD approximately twenty times, including five times in the past year. During my
              15 various visits and tours of RJD, I estimate that I have interviewed more than 400
              16 Armstrong class members housed at the prison.
              17         3.     Attached hereto as Exhibit 1 is a true and correct copy of a letter without
              18 attachments with the subject “Staff Misconduct at Richard J. Donovan Correctional
              19 Facility” from Gay Crosthwait Grunfeld to Russa Boyd and Nicholas Weber dated
              20 November 13, 2019.
              21         4.     Attached hereto as Exhibit 2 is a true and correct copy of a memorandum
              22 authored by Associate Warden Bishop dated December 10, 2018 and entitled “Findings of
              23 Inmate Interviews at Richard J. Donovan Correctional Facility, December 4-5, 2018.”
              24         5.     Attached hereto as Exhibit 3 is a true and correct copy of a memorandum
              25 dated January 26, 2018 [sic] (2019) authored by Sgt.             to Patrick Covello, Warden
              26 of RJD entitled “Richard J. Donovan Correctional Facility, Facility C, further
              27 investigation/referral.”
              28
                                                               1                          Case No. C94 2307 CW
                   DECL. OF M. FREEDMAN ISO MOTION TO STOP DEFS. FROM ASSAULTING, ABUSING & RETALIATING
[3496005.3]                      AGAINST PEOPLE W/ DISABILITIES AT R.J. DONOVAN CORR. FACILITY
               1         6.     Attached hereto as Exhibit 4 is a true and correct copy of a memorandum
               2 dated January 26, 2018 [sic] (2019) authored by Sgt              to Patrick Covello, Warden
               3 of RJD entitled “Richard J. Donovan Correctional Facility, Facility C, non-referrals.”
               4 I.      FIFTY-FOUR INCARCERATED PEOPLE HAVE SUBMITTED
                         DECLARATIONS DESCRIBING MORE THAN ONE HUNDRED
               5         INSTANCES OF ASSAULTS, HARASSMENT, RETALIATION, AND
                         OTHER MISCONDUCT THEY EXPERIENCED AND WITNESSED AT
               6         RJD
               7         7.     Attached to this declaration are declarations from fifty-four Armstrong and
               8 Coleman class members. The declarations describe instances where officers have
               9 assaulted, harassed, retaliated against, and otherwise engaged in staff misconduct against
              10 people with disabilities at RJD. Thirty-five of the declarants are both Armstrong and
              11 Coleman class members, nine are only Armstrong class members, and ten are only
              12 Coleman class members.
              13         8.     Where relevant, I have also attached documents corroborating the
              14 declarations, including, but not limited to, documents from peoples medical and custody
              15 files, advocacy letters that Plaintiffs’ counsel have sent to Defendants, Defendants’
              16 responses to the advocacy letters, and other documents from Defendants’ investigations
              17 into allegations of staff misconduct. With the exception of a report of a staff assault that
              18 may have contributed to the death of an incarcerated person, the declarations are organized
              19 in alphabetical order.
              20         9.     Plaintiffs’ counsel provided copies of these declarations to Defendants
              21 through a secure file sharing website. We shared forty-two of the class member
              22 declarations on January 14, 2020 and the remainder on February 4, 2020, February 5,
              23 2020, February 11, 2020, and February 18, 2020.
              24         A.                               , EOP, died on November 10, 2018 at RJD
              25         10.    Two declarations from Armstrong class members implicate custody staff in
              26 the November 2018 death of Coleman class member                                 , on
              27
              28
                                                               2                          Case No. C94 2307 CW
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               1 Facility C. See Ex. 50, ¶¶ 26-27; Ex. 51, ¶ 24. Attached hereto as Exhibit 51 are true and
               2 correct copies of documents related to Mr.                 death, including excerpted copies of
               3 documents from his medical file and excerpted copies of documents produced by
               4 Defendants in the Coleman litigation.
               5            11.     According to the documents, in the early morning of November 10, 2018,
               6 Ms.              and Mr.            witnessed Officer       and Officer         use force the
               7 declarants believe caused the death of Mr.               in Building 15. Ex. 50, ¶ 26; Ex. 51,
               8 ¶ 24. Prior to his death, Mr.              was housed in a Mental Health Crisis Bed (“MHCB”)
               9 at California State Prison – Lancaster, where he told his clinician on October 8, 2018 that
              10 he was “in fear of his life from both inmates and custody” due to a PREA allegation he had
              11 made at RJD in July of 2016 and that he “cannot return back to RJD.” Ex. 5, at 1, 44-45.
              12 On October 9, 2018, CDCR transferred Mr.                   back to RJD. Id. at 44. On the day of
              13 his death, Mr.              engaged in self-injurious behavior in his cell. Ex. 50, ¶ 26; Ex. 51,
              14 ¶ 24. Mr.               cried for help and banged on his door. Ex. 50, ¶ 26; Ex. 51, ¶ 24. The
              15 officers in Building 15 at the time, Officer            and Officer          ignored Mr.
              16 Ex. 50, ¶ 26; Ex. 51, ¶ 24. About thirty to forty-five minutes after he had started yelling
              17 for help, Officers            and         handcuffed Mr.           in his cell and dragged him
              18 out as he bled profusely from his wrists. Ex. 50, ¶ 26; Ex. 51, ¶ 24; Ex. 5, at 19-20, 47-49.
              19 Staff then slammed Mr.                 to the ground. Ex. 51, ¶ 24. As Mr.          lay on his
              20 stomach – restrained in handcuffs despite the deep lacerations on both of his wrists – one
              21 of the officers stood on Mr.                back with all of his weight, using his hands to
              22 balance himself against the wall. Ex. 50, ¶ 26; Ex. 51, ¶ 24. The other officer pinned
              23 Mr.               down with his knee. Ex. 50, ¶ 26; Ex. 51, ¶ 24. The officers yelled, “You
              24 woke us up motherfucker! Stop resisting!” Ex. 50, ¶ 26; Ex. 51, ¶ 24. Mr.                     cried
              25
              26
                   1
              27    Where necessary, we have Bates-stamped documents corroborating the declarations to
                   assist the Court.
              28
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               1 out, “I can’t breathe! I can’t breathe!” Ex. 50, ¶ 26; Ex. 51, ¶ 24. Then he stopped saying
               2 anything and went still. Ex. 50, ¶ 26; Ex. 51, ¶ 24.
               3          12.    A third class member declarant, Mr.             was told by other incarcerated
               4 people that Mr.           had died after trying to get help from staff. Ex. 19, ¶ 7.
               5          13.    Although CDCR ultimately determined that Mr.                cause of death
               6 was suicide, the suicide report identified two issues that suggest that custody staff
               7 contributed, at least in part, to Mr.           death. Ex. 5, 40-41. First, a first responder,
               8 Nurse Gunay, documented in the medical record that, upon arriving at the scene,
               9 Mr.            was “non-compliant” and “resisting correctional officers [by] pulling [his]
              10 arms away.” Id. at 3-7, 40. The incident reports submitted by eight correctional and
              11 medical staff members all omitted the fact that Mr.            was resisting and that officers
              12 had to use force. Id. at 9-35. The discrepancy between the incident reports and medical
              13 note was referred to the Office of Internal Affairs (“OIA”) for investigation. Id. at 40-42.
              14          14.    Second, the inquiry found that custody staff delayed in activating the
              15 Emergency Medical System for at least 17 minutes. Id. at 40. This delay in the provision
              16 of assistance to Mr.           during this emergent situation is consistent with the statements
              17 of declarants, who noted that Officers           and        ignored Mr.            cries for
              18 help for approximately 30 to 45 minutes. Ex. 50, ¶ 26; Ex. 51, ¶ 24. The 17 minute delay
              19 in calling for emergency assistance was also referred to OIA for investigation. Ex. 5, at
              20 40-42.
              21          B.                              DPO, CCCMS, 53 years old
              22          15.    Attached hereto as Exhibit 6 is a true and correct copy of a declaration from
              23 Armstrong and Coleman class member                       signed on January 8, 2020. Attached
              24 hereto as Exhibit 6a is a true and correct copy of Mr.               disability accommodation
              25 chrono dated October 5, 2017.
              26          16.    According to the exhibits, in the first part of 2018, Mr.        objected to
              27 Officer           cuffing him behind his back, in violation of Mr.            valid, disability-
              28 related chrono to be cuffed in front of his body. Ex. 6, ¶ 8; Ex. 6a, at 1. In response,
                                                                4                             Case No. C94 2307 CW
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               1 Officer          threw Mr.           off of his walker and to the ground and then fell on top
               2 of Mr.            Ex. 6, ¶ 8. After assaulting Mr.              Officer         cuffed
               3 Mr.            behind his back and escorted him to the Facility B Gym, where he was forced
               4 to stand without his walker or any other assistive device for 30 minutes. Id., ¶ 9.
               5          17.    In the first half of 2018, Mr.           also witnessed staff assault his friend,
               6 Mr.             near the basketball court on Facility B. Id., ¶¶ 15-17. An officer punched
               7 Mr.             in the face, knocking him to the ground. Id., ¶ 15. After an alarm had been
               8 activated, more than 10 officers beat Mr.               for about three minutes while he lay on
               9 the ground not resisting. Id. Mr.                suffered serious facial bruising and facial
              10 lacerations. Id., ¶ 16. Mr.           believes that the assault caused permanent injuries to
              11 Mr.              cognitive functioning. Id., ¶ 17.
              12          C.                                DPH-SLI, EOP, 47 years old
              13          18.    Attached hereto as Exhibit 7 is a true and correct copy of a declaration from
              14 Armstrong and Coleman class member                          signed on January 31, 2020.
              15          19.    According to the declaration, Mr.            is Deaf and uses sign language as
              16 his primary method of communication. Ex. 7, ¶ 5. In the early morning of December 21,
              17 2019, Mr.           was escorted to Building 1 on Facility A after being transferred to RJD
              18 from a crisis bed. Id., ¶¶ 8-9. Once in the unit, Officers D.             and Officer
              19 approached Mr.            and started yelling at him. Id., ¶ 9. Because Mr.              is Deaf, he
              20 could not understand what they were saying. Id., ¶¶ 9-10. Mr.                 attempted to explain
              21 that he is Deaf and has a speech impairment by gesturing to his ears and pointing to his
              22 hearing-impaired vest. Id., ¶ 10. The officers did not recognize or accommodate his
              23 disability and continued to yell at him. Id. Mr.             walked away in an attempt to
              24 defuse the situation. Id., ¶ 11. The officers caught up to Mr.             and then Officer
              25           punched him in the face. Id. ¶¶ 12-13. Both officers then tackled Mr.                to the
              26 ground and forcefully handcuffed him before escorting him to the Treatment and Triage
              27 Area (“TTA”) Id., ¶¶ 14-15. After being charged with an RVR for resisting a peace
              28 officer, Mr.          was found guilty and lost 90 days of credit. Id, ¶ 24.
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               1            D.                                    DPM, Acute2, 46 years old
               2            20.    Attached hereto as Exhibit 8 is a true and correct copy of a declaration from
               3 Armstrong and Coleman class member                              signed on February 18, 2020.
               4 Attached hereto as Exhibit 8a are true and correct copies of excerpts of documents
               5 corroborating Mr.                 declaration.
               6            21.    According to the exhibits, on January 13, 2020, in Building 14, Officer
               7            ordered Mr.            to submit to handcuffs after Mr.            stated that he was
               8 suicidal and had safety concerns. Ex. 8, ¶ 8. Mr.                objected to being cuffed
               9 behind his back in violation of his valid, disability-related chrono. Id., ¶ 8; Ex. 8a, at 1. In
              10 response, Officer            grabbed Mr.              wrist, tripped him, and slammed him in
              11 to the ground, knocking him unconscious upon impact. Ex. 8, ¶ 9; Ex. 8a, at 5. When he
              12 regained consciousness, multiple officers, including Officers                        and
              13                  were punching and kicking Mr.             in the head, ribs, and legs as they
              14 yelled “Stop resisting!” even though he was not resisting. Ex. 8, ¶ 10. The event was
              15 witnessed by at least one class member. Ex. 32, ¶¶ 15-16. The officers then cuffed him in
              16 violation of his front-cuffing chrono, and took him to the gym without the use of his
              17 assistive devices. Ex. 8, ¶ 11. Mr.               became suicidal as a result of the incident
              18 and swallowed a razor blade while being held in the gym. Id., ¶¶ 11-12; Ex. 8a, at 5.
              19            22.    At an outside hospital, Mr.           was diagnosed with a cephalo-
              20 hematoma of his scalp and periorbital swelling. Ex. 8a, at 9. When Mr.                    was
              21 returned to RJD, he again attempted suicide.. Ex. 8, ¶ 15; Ex. 8a, at 11-13. He told a
              22 clinician at RJD that his suicidality was triggered by his being “assaulted by custody staff.”
              23 Ex. 8a, at 11. Mr.               remains at an inpatient mental health care unit at the
              24 Psychiatric Inpatient Program (“PIP”) at California Health Care Facility. Ex. 8, ¶ 2.
              25
              26   2
                   At the time of the incident described in Mr.              declaration, he was a participant
              27 in the Enhanced   Outpatient Program.   He is currently in an inpatient, mental health, acute
                 care facility.
              28
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               1            E.                                   DNH3, EOP 47 years old
               2            23.    Attached hereto as Exhibit 9 is a true and correct copy of a declaration from
               3 Coleman class member and former Armstrong class member                               signed on
               4 January 29, 2020.
               5            24.    According to the declaration, on November 27, 2019, Mr.             was
               6 housed in administrative segregation. Ex. 9, ¶ 6. At around 9:00 a.m., Officer
               7 cuffed Mr.               hands behind his back. Id. Officer          then closed the door,
               8 leaving Mr.             handcuffed in his wheelchair and telling him that he would be “right
               9 back.” Id. Mr.              was left cuffed in his cell for two days until midday on November
              10 29, 2019. Id. He repeatedly called out to staff to remove the cuffs including during the
              11 mandated welfare checks that should occur every thirty minutes in segregation. Id., ¶ 7. In
              12 response to his pleas for help, both Officer                and Officer         said to him, on
              13 different occasions, “Don’t file P[rison] R[ape] E[limination] A[ct] reports.” Id., ¶ 8.
              14 While stuck in handcuffs, Mr.              experienced panic attacks and had to defecate in his
              15 clothing because he was unable to change himself. Id., ¶ 10.
              16            F.                              DPM, CCCMS, 56 years old
              17            25.    Attached hereto as Exhibit 10 is a true and correct copy of a declaration
              18 from Armstrong and Coleman class member                         signed on January 29, 2020.
              19 Attached hereto as Exhibit 10a are true and correct copies of excerpts of documents
              20 corroborating Mr.              declaration.
              21            26.    According to the exhibits, on July 14, 2019, Officer         grabbed
              22 Mr.              arm and forced his hand behind his back for cuffing. Ex. 10, ¶ 10. Mr.
              23 told the officer he was not supposed to be cuffed in the back as a result of his disability.
              24 Id.; Ex. 10a, at 1. Next, Officer             slammed Mr.         to the ground into the ground,
              25 knocking him unconscious. Ex. 10, ¶ 11. When he came to, Mr.                  was unable to
              26
                   3
              27    At the time of the incident described in Mr.              declaration, he was designated as
                   DPW.
              28
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               1 breathe because Officer                 knee was on his throat. Id., ¶ 12. Officer         began
               2 kneeing Mr.           repeatedly in the face and then cuffed Mr.           so tightly that he lost
               3 circulation in both of his arms. Id., ¶¶ 12-13. Another officer flipped Mr.                body
               4 over on the concrete, causing his face to smash into the concrete floor again. Id., ¶ 13.
               5          27.    While waiting to receive medical attention in the TTA, custody and medical
               6 staff subjected Mr.          to harassment and disability-related slurs. For example, Nurse
               7 Bradley asked him mockingly, “What are you, crippled now?” Id., ¶ 14. When he was
               8 finally loaded into an ambulance to be transported to the hospital, one officer grabbed his
               9 neck and twisted it, telling Mr.            “You ain’t crippled, you’re faking it.” Id., ¶ 15.
              10          28.    At the outside hospital, Mr.           was diagnosed with multiple contusions of
              11 his head, neck, and back. Exhibit 10a, at 3-4.
              12          29.    When Mr.           returned to RJD, Nurse Bradley denied him access to a
              13 requested wheelchair, saying to a nearby officer, “Fuck him, make him walk.” Ex. 10,
              14 ¶ 15. Mr.             chronic and disability-related nerve pain was significantly worsened as
              15 a result of this incident. Id., ¶ 20.
              16          30.    Mr.        was charged with a Rules Violation Report (“RVR”) for battery
              17 on a peace officer and was punished by CDCR with a loss of 150 days of credit.
              18 Id., ¶¶, 16-17. Mr.          has not received a response to the 602 staff complaint against
              19 Officer          he filed in August of 2019. Id., ¶ 17; Ex. 10a, at 6-7.
              20          G.                                   DPM, EOP, 60 years old
              21          31.    Attached hereto as hereto as Exhibit 11 is a true and correct copy of a
              22 declaration from Armstrong and Coleman class member                            signed on January
              23 25, 2020. Attached hereto as Exhibit 11a are true and correct copies of excerpts of
              24 documents corroborating Mr.                 declaration.
              25          32.    According to the exhibits, on September 27, 2018, Mr.                who uses a
              26 walker to ambulate, was thrown up against a wall by an officer in the Facility A dining hall
              27 over a dispute regarding a hard-boiled egg. Ex. 11, ¶¶ 8-10. Mr.               injured his ankle
              28 during this incident. Id., ¶ 10. The officer next attempted to handcuff Mr.         behind
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               1 his back, in violation of Mr.              valid disability-related chrono for front cuffing, and
               2 only stopped when other officers intervened, pointing out that Mr.              had a walker. Id.,
               3 ¶ 11; Ex. 11a, at 1-2. Mr.             was required to walk about 100 yards to the mental health
               4 building on his badly injured ankle. Ex. 11, ¶ 12. This incident caused Mr.
               5 preexisting mobility impairment to worsen, such that he now uses a wheelchair and his
               6 DPP code was upgraded from DPM to DPO for a period of time. Id., ¶ 19; Ex. 11a, at 4.
               7         33.         On June 4, 2019, Officer           in the control tower in Building 2 on
               8 Facility A, closed the cell door on Mr.              Ex. 11, ¶ 20-21. While Mr.          was
               9 trapped in the door, he saw Officer                looking at him and laughing. Id., ¶ 21.
              10 Mr.           has also observed other incidents of misconduct involving Officer
              11 Id., ¶ 35.
              12         34.         On or around April 24, 2019, Mr.         witnessed events relevant to the
              13 staff assault on                        in Building 2 on Facility A. Id., ¶¶ 30-34. The incident
              14 involving Mr.                 is discussed at Paragraphs 238-242, infra.
              15         35.         On or around November 18, 2018, Mr.            witnessed staff assault
              16         Ex. 11, ¶¶ 24-29. The incident involving Mr.             is discussed at Paragraphs 78-
              17 79, infra.
              18         36.         On July 12, 2019, Plaintiffs’ counsel sent an advocacy letter, a true and
              19 correct copy of which is attached hereto as Exhibit 11b, to Defendants requesting an
              20 investigation into the incidents on September 27, 2018 and June 4, 2019 involving
              21 Mr.             On January 24, 2020, more than six months later, Defendants sent a letter, a
              22 true and correct copy of which is attached hereto as Exhibit 11c, responding to Plaintiffs’
              23 counsel’s letter. Defendants found there were “no findings to support Mr.                    claim of
              24 staff misconduct” related to the September 27, 2018 incident. Ex. 11c, at 2. Defendants
              25 indicated that the allegation regarding the June 4, 2019 incident was under investigation
              26 because it was connected to Mr.                   allegations of staff misconduct against Officer
              27               Id.
              28
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               1            D.                           DPO, 60 years old
               2            37.   Attached hereto as Exhibit 12 is a true and correct copy of a declaration
               3 from Armstrong class member                     signed on January 7, 2020.
               4            38.   According to the declaration, on or around June 21, 2019, Mr.           saw an
               5 incarcerated person named Mr.            lying unconscious on the dayroom floor of Building
               6 9 on Facility B. Ex. 12, ¶ 8. Officer            and another officer yelled at him to get up,
               7 and accused him of “faking it” then lifted his limp body to an upright position, before
               8 dropping him and causing Mr.              head to hit the concrete floor with extreme force.
               9 Id.
              10            39.   On or around July 27, 2019, Mr.         complained to staff in his housing
              11 unit that they were denying him a shower in violation of policy. Id., ¶ 11. In response, the
              12 officer yelled, “You don’t fucking know who you are dealing with! You are on my list
              13 now! I am going to fuck you up!” Id.
              14            H.                              DNM, DNH, 74 years old
              15            40.   Attached hereto as Exhibit 13 is a true and correct copy of a declaration
              16 from Armstrong class member                      signed on January 8, 2020. Attached hereto
              17 as Exhibit 13a are true and correct copies of excerpts of documents corroborating
              18 Mr.              declaration.
              19            41.   According to the exhibits, in August 2018, Mr.          filed a 602 staff
              20 complaint against Officer             alleging that Officer         paid other incarcerated
              21 people to steal his property. Ex. 13, ¶¶ 7, 9. Mr.            then observed Officer
              22 hand a note to Mr. “                            which Mr.                placed on Mr.
              23 door. Id., ¶ 9. The note said “You have 48 hours to leave the unit or else…” Id.
              24            42.   On March 13, 20194, while showering, Mr.                 punched Mr.
              25 in the face stating, “This is from            Id., ¶ 10. Mr.         was diagnosed with a
              26 corneal abrasion and periorbital bruising. Id.; Ex. 13a, at 1-4.
              27
                   4
                   Though Mr.         declaration states that he was assaulted a few weeks after filing his
              28 (footnote continued)
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               1         43.      On or around April 23, 2019, Mr.           witnessed a staff assault on an
               2 incarcerated person known as “             in Building 13 on Facility C. Ex. 13, ¶¶ 13-
               3 17. Following an verbal altercation between             and an officer, seven officers attacked
               4          throwing him to the floor and handcuffing him. Id., ¶ 13. The officers continued to
               5 beat           after he was handcuffed, punching and kicking him for about three to four
               6 minutes. Id. Officer             kicked         in the face three times and stomped on his
               7 head. Id., ¶ 14. By the end of the attack, Mr.             counted 17 officers around         and
               8 observed a blood-soaked towel around                neck. Id., ¶¶ 14-15. The incident
               9 involving           is also discussed by                    at Paragraph 87, infra.
              10         44.      In December 2018, Mr.           saw Officer         approach a Coleman class
              11 member                      in the dining hall, grab Mr.            food tray, and throw it
              12 against the wall. Ex. 13, ¶ 20. Officer           then beat Mr.           with his baton, hitting
              13 him in the head and kicking him, when Mr.               got another food tray. Id. Another
              14 officer later joined in on the beating. Id.
              15         I.                                    DPW, DPV, CCCMS, 85 years old
              16         45.      Attached hereto as Exhibit 14 is a true and correct copy of a declaration
              17 from Armstrong and Coleman class member                           signed on January 6, 2020.
              18 Attached hereto as Exhibit 14a are true and correct copies of excerpts of documents
              19 corroborating Mr.             declaration, including documents from the medical records of 70
              20 year-old Armstrong class member                                 DPW.
              21         46.      According to the exhibits, on May 13, 20195, Mr.          witnessed four
              22 officers stand by and watch an incarcerated person attack Armstrong class member
              23              who was thrown from his wheelchair in the middle of the yard. Ex. 14, ¶ 15.
              24 Mr.             was beaten so badly that people in hazmat suits had to clean up the pool of
              25
              26 appeal, his medical records indicate that the assault occurred on March 13, 2019.
                 5
              27 Though Mr.                 ration states that the assault occurred in approximately June or
                 July of 2019, Mr.           medical records confirm that it occurred in May 2019.
              28
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               1 blood. Id. Staff failed to activate the alarm until about ten minutes after the start of the
               2 attack. Id., ¶ 16. Mr.                 was diagnosed with multiple facial fractures requiring
               3 surgery and an ear laceration at an outside hospital. Ex. 14a, at 6, 14.
               4            47.     Mr.        was tortured as prisoner of war in Bosnia and had previously told
               5 Officer             that he had PTSD. Ex. 14, ¶¶ 5,11. After Officer             became aware of
               6 Mr.               condition, Officer          harassed him on multiple occasions by coming up
               7 behind him to startle him. Id. Sometime between June and August 2019, Officer
               8 started closing the sally-port door on Mr.               which triggered Mr.          PTSD. Id.,
               9 ¶¶ 7-9. Mr.              saw Officer          laughing at him as the door closed. Id. ¶ 9.
              10            J.                                ICF6, 36 years old
              11            48.     Attached here to as Exhibit 15 is a true and correct copy of a declaration
              12 from Coleman class member                         signed on January 24, 2020. Attached hereto as
              13 Exhibit 15a are true and correct copies of excerpts of documents corroborating
              14 Mr.               declaration.
              15            49.     According to the exhibits, on September 6, 2019, Officer              choked
              16 Mr.              while he was handcuffed to his hospital bed. Ex. 15, ¶¶ 8-10. Mr.
              17 received a Rules Violation Report for “obstructing an officer” following this incident. Id.,
              18 ¶ 10. A few days after Mr.                 was returned to RJD, Sergeant           Officer
              19 and Officer                 brutally assaulted Mr.          in his cell in administrative segregation
              20 while Mr.              was handcuffed in waist chains. Id., ¶¶ 11-12. Officer                blocked
              21 the doorway using a big shield while Sergeant                  and Officer          entered the cell
              22 and started kicking Mr.                in the head. Id., ¶ 12. Mr.        lost consciousness after
              23 about 10 seconds of being kicked. Id. Mr.                  remained in his cell in waist chains,
              24 drifting in and out of consciousness for the next five hours without receiving any medical
              25 attention. Id., ¶¶ 13-14. Mr.               was taken to an outside hospital, where he reported the
              26   6
                   At the time of the events described in his declaration, Mr.         was in the Enhanced
              27 Outpatient  Program   (“EOP”).  He is now  housed  in an inpatient, Intermediate   Care Facility
                 (“ICF”).
              28
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               1 staff assault and was diagnosed with a forehead hematoma, abrasions, and a probable
               2 concussion. Ex. 15, ¶ 15; Ex. 15a, at 2-3, 5.
               3          50.   Mr.            also witnessed staff engage in other forms of misconduct,
               4 including threatening incarcerated people with mental illness with violence to coerce them
               5 into taking their medication, threatening to stomp people on the yard, and ignoring injured
               6 incarcerated people. Ex. 15, ¶¶ 23-25.
               7          51.    On October 10, 2019, Plaintiffs’ counsel sent an advocacy letter to
               8 Defendants, a true and correct copy of which is attached hereto as Exhibit 15b (Exhibits to
               9 letter omitted), requesting an investigation into the incidents on September 6 and 10, 2019.
              10 On October 30, 2019, Defendants sent a responsive letter, a true and correct copy of which
              11 is attached hereto as Exhibit 15c. Defendants found that “there is insufficient information
              12 to support a finding of excessive or unnecessary use of force” with respect to the
              13 September 6, 2019 incident. Ex. 15c, at 2. Defendants reported that the September 10,
              14 2019 allegations had been referred to OIA for an administrative investigation. Id.
              15          K.                                   EOP, 48 years old
              16          52.   Attached hereto as Exhibit 16 is a true and correct copy of a declaration
              17 from Coleman class member                          signed on December 18, 2019. Attached
              18 hereto as Exhibit 16a are true and correct copies of excerpts of documents corroborating
              19 Mr.            declaration.
              20          53.   According to the exhibits, on or around April 24, 2019, Mr.            witnessed
              21 events relevant to the staff assault on                     in Building 2 on Facility A. Ex.
              22 16, ¶¶ 6-13. The incident involving Mr.                is discussed at Paragraphs 238-242,
              23 infra.
              24          54.    On or around November 18, 2018, Mr.               witnessed events relevant to
              25 the staff assault on               in Building 2 on Facility A. Ex. 16, ¶ 15. The incident
              26 involving Mr.          is discussed at Paragraphs 78-79, infra.
              27          55.   On multiple occasions, Mr.            witnessed Officer          taunt and
              28 threaten incarcerated people over the PA system, saying, “Get out of here with that bullshit
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               1 or someone is going to get shot today. I feel like shooting someone today” and “[I]’ve
               2 been fired three times and they still can’t get rid of me.” Ex. 16, ¶¶ 16-17. Mr.               told
               3 his clinician about Officer                conduct. Ex. 16a, at 1-2.
               4            L.                                           DPM, DNH, 78 years old
               5            56.     Attached hereto as Exhibit 17 is a true and correct copy of a declaration
               6 from Armstrong class member                                   signed on January 7, 2020.
               7 Attached hereto as Exhibit 17a is a true and correct copy of an excerpt of a document
               8 corroborating Mr.                declaration.
               9            57.     According to the exhibits, on December 9, 2019, staff closed the cell door on
              10 Mr.              knocking him off balance and into the wall, injuring his shoulder. Ex. 17, ¶ 6.
              11 Mr.              estimates that staff close the cell door on him a few times per week. Id., ¶ 7.
              12 Mr.                  witnessed this incident. See Ex. 36, ¶ 13. Prior to the incident, Mr.
              13 had asked staff for extra time because he moves slowly without his walker, which is left
              14 outside of his cell. Ex. 17, ¶¶ 6-8; Ex. 17a, at 1.
              15            58.     Mr.         also witnessed staff close cell doors on other people with
              16 disabilities in Building 20 on Facility D. Ex. 17, ¶ 9.
              17            M.                                   DLT, CCCMS7, 48 years old
              18            59.     Attached hereto as Exhibit 18 is a true and correct copy of a declaration
              19 from Armstrong and Coleman class member                          signed on January 5, 2020.
              20 Attached hereto as Exhibit 18a are true and correct copies of excerpts of documents
              21 corroborating Mr.                declaration.
              22            60.     According to the exhibits, on June 7, 2018, Mr.          was stabbed by
              23 another incarcerated person, Mr.             as Officers         and        watched but did not
              24 intervene for several minutes. Ex. 18 ¶¶ 6-7; Ex. 18a, at 1-2. Additionally, during the
              25 incident, Officer                 yelled from the tower, “You’re either going to fight, go to
              26
                   7
              27    At the time of the incidents described in his declaration, Mr.            was in the Enhanced
                   Outpatient Program (“EOP”).
              28
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               1 chow, or go to your cell” without taking action to stop the fight. Ex. 18, ¶ 7. Later,
               2 Mr.             told Mr.         that staff had paid Mr.        in tobacco to stab Mr.          Id.,
               3 ¶ 8.
               4            61.      On August 3, 2018, despite reported safety concerns, Officers
               5 and              wheeled Mr.          to Building 15 where they assaulted him, punching him in
               6 the head as Mr.                curled into a ball in his wheelchair. Id., ¶¶ 20-23. Mr.
               7 subsequently decompensated and swallowed a razor, leading to an MHCB placement. Id.,
               8 ¶¶ 25-27; Ex. 18a, at 4.
               9            N.                                      CCCMS8, 52 years old
              10            62.      Attached hereto as Exhibit 19 is a true and correct copy of a declaration
              11 from Coleman class member                                  signed on January 8, 2020.
              12            63.      According to his declaration, on October 11, 2019, staff placed an
              13 incarcerated person named Mr.                   into Mr.              cell and Officer J.
              14 told both of them, “You all either fuck or fight.” Ex. 19, ¶ 11. On January 7, 2020, after
              15 Mr.                received a response to his staff misconduct complaint against Officer
              16                   Officer            threatened him with retaliatory RVRs and cell searches,
              17 telling him, “I’m coming after you.” Id.
              18            64.      Following the death of an incarcerated person, Mr.            in Building 13 on
              19 Facility C, Mr.                heard Officer               state that she was working in the unit
              20 where his body was found and she joked “I see dead people,” while walking around like a
              21 zombie with her arms out in front of her. Id., ¶ 9.
              22            O.                                  CCCMS, 62 years old
              23            65.      Attached hereto as Exhibit 20 is a true and correct copy of a declaration
              24 from Coleman class member                          signed on January 8, 2020. Attached hereto as
              25
              26
                   8
              27    At the time of the incidents described in his declaration, Mr.                was in the EOP
                   program.
              28
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               1 Exhibit 20a are true and correct copies of excerpts of documents corroborating
               2 Mr.            declaration.
               3         66.    According to the exhibits, on May 30, 2019, in response to Mr.
               4 request to receive hot links on his food tray, two officers grabbed Mr.              and dragged
               5 him to the entrance of the Facility D dining hall, where they slammed his head against the
               6 door frame twice. Ex. 20, ¶¶ 7-10. One officer yanked and twisted his arm forcefully until
               7 it snapped, then the officers threw him on the ground where he hit the concrete with the
               8 wrist of his already-fractured arm. Id., ¶¶ 10-11. Officer               then jumped onto
               9 Mr.            back. Id., 12.
              10         67.    Mr.            was diagnosed with two fractures in his forearm at an outside
              11 hospital. Id., ¶ 15; Ex. 20a, at 1-2. Six weeks after the incident, Mr.             underwent
              12 orthopedic surgery to insert a plate and nine screws into his wrist. Ex. 20a, at 4-5. To this
              13 day, Mr.             arm and hand function is significantly impaired. Ex. 20, ¶ 23.
              14 Mr.           also continues to experience chronic mental health symptoms, including
              15 recurring nightmares about officers beating him up, shooting, and hurting him. Id., ¶ 27.
              16         P.                                 DPM, CCCMS, 58 years old
              17         68.    Attached hereto as Exhibit 21 is a true and correct copy of a declaration
              18 from Armstrong and Coleman class member                         dated February 7, 2020.
              19 Attached hereto as Exhibit 21a are true and correct copies of excerpts of documents
              20 corroborating Mr.               declaration.
              21         69.    According to the exhibits, on August 21, 2018, while picking up a heavy
              22 package of legal mail, Mr.             asked Officer         why the package had not been
              23 delivered to his housing unit, per his understanding of protocol. Ex. 21, ¶ 8. Mr.
              24 who has a disability-related restriction that prevents him from lifting heavy objects, told
              25 Officer         he could not lift the package on his own. Id., ¶¶ 4, 7-8; Ex. 21a, at 1. A
              26 verbal altercation ensued and Mr.              indicated that he planned to file a staff
              27 complaint against Officer           for failing to help him carry the box or arrange for
              28 assistance. Ex. 21, ¶ 9. Officer           then yelled, “Get down on the ground you crippled
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               1 motherfucker,” pepper sprayed Mr.              in the face, and struck Mr.          in the face
               2 with the pepper spray canister, causing Mr.            to fall to the ground. Id. Officer
               3          then kicked Mr.          in the ribs and stomach and stomped on Mr.                back
               4 and neck. Id. Mr.            was found guilty of a rules violation for allegedly spitting on
               5 Officer         and given a term in a Security Housing Unit (SHU). Id., ¶ 10. Mr.
               6 did not spit on Officer          Id. Mr.          reported the assault by Officer           and
               7 the false rules violation to his mental health clinician. Ex. 21a, at 3-5.
               8          70.   On November 9, 2018, Plaintiffs’ counsel sent a letter to Defendants, a true
               9 and correct copy of which is attached hereto as Exhibit 21b, requesting an investigation
              10 into the incident on August 21, 2018. In anticipation of this litigation, Defendants
              11 produced a December 5, 2018 memorandum, a true and correct copy of which is attached
              12 hereto as Exhibit 21c, indicating that RJD was investigating the allegations. See Ex. 21c,
              13 at 2. In RJD’s response to Plaintiffs’ March 2019 Armstrong Monitoring Tour Report,
              14 Defendants indicated that the investigation had not identified any violations of CDCR
              15 policy. Ex. 74, at 3-4.
              16          71.   More than nine months after this allegation was reported, CDCR included
              17 this allegation as an entry in the Armstrong accountability logs. However, on January 6 or
              18 7, 2020, Tamiya Davis, an attorney for CDCR, told me that the confirmation of the
              19 violation was in error. CDCR has yet to issue a revised log to correct this error.
              20          Q.                                    DLT, EOP, 68 years old
              21          72.   Attached hereto as Exhibit 22 is a true and correct copy of a declaration
              22 from Mr.               signed on January 8, 2020, approximately one month prior to his
              23 death.
              24          73.   On February 19, 2020, CDCR produced a “Homicide Death Notification” for
              25 Mr.               Attached hereto as Exhibit 22a is a true and correct copy of the Coleman
              26 death notification for Mr.               Medical records, true and correct excerpted copies
              27 of which are attached hereto as Exhibit 22b, indicate that Mr.               was admitted to
              28 an outside hospital after being assaulted by multiple other incarcerated people in Building
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               1 1 on Facility A on February 4, 2020. Ex. 22b, at 1-23; id. at 7 multiple incarcerated people
               2 involved in attack. Mr.                 died at a different hospital 15 days later. Ex. 22a, at 1.
               3 Plaintiffs’ counsel is currently investigating the circumstances of Mr.                       death.
               4             74.   In his declaration, Mr.                 stated that he “lived in fear that any day
               5 [his] cell door would be popped open by staff and incarcerated people would be let in to
               6 attack him” after he filed a lawsuit against Officer                    for telling people he was
               7 “homosexual” and placing him great danger in prison. Ex. 22, ¶¶ 15-16. He was fearful
               8 because a friend, Shariff, told him that Officer                    was offering $1000 to anyone
               9 who would attack Mr.                    Id., ¶ 15. As stated above, Mr.                  is now dead
              10 and his death is being investigated as a homicide. Ex. 22a, at 1.
              11             75.   In early August 2019, Mr.                   witnessed staff forcefully throw
              12 Coleman class member                         to the ground and kick her in the face outside of the
              13 Facility A mental health building. Ex. 22, ¶ 8. After Mr.                       reported the incident,
              14 Sergeant                asked him, “Why are you being a trouble maker?” Id., ¶ 9. When he
              15 returned to his housing unit, Officer “ ” threatened him, telling him that “[he] should be
              16 careful or things could happen to [him].” Id., ¶ 10. Due to these threats, Mr.
              17 did not report the incident. Id.
              18             76.   Mr.             observed Officer               incite violence between incarcerated
              19 people saying, in response to people who report problems to him, “I don’t care, go kick his
              20 ass.” Id., ¶¶ 11-12. Mr.                    saw Officer           destroy property, including
              21 throwing a T.V. off the tier, and heard him insult and threaten incarcerated people multiple
              22 times. Id., ¶ 11.
              23             R.                          DLT, EOP, 63 years old
              24             77.   Attached hereto as Exhibit 23 is a true and correct copy of a declaration
              25 from Armstrong and Coleman class member                           signed on January 8, 2020.
              26
              27   9
                       Ms.         CDCR number is BI9589, and she is in the Enhanced Outpatient Program.
              28
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               1 Attached hereto as Exhibit 23a are true and correct copies of excerpts of documents
               2 corroborating Mr.            declaration.
               3         78.      According to the exhibits and declarations from multiple other incarcerated
               4 people, on November 18, 2018, Mr.             approached Officer         in the dayroom of
               5 Building 2 to ask him to stop shining his flashlight in Mr.           eyes, as it exacerbates his
               6 vision disability and is painful. Ex. 23, ¶ 8. An argument ensued, because Officer
               7 was not taking Mr.            disability needs seriously, and Mr.       requested to speak to a
               8 sergeant. Id., ¶¶ 8-9. In response, Officer          activated his alarm. Id., ¶ 9. Next,
               9 Officer          rushed in to the unit and punched Mr.         in the jaw with his closed fist.
              10 Id., ¶ 10. Mr.         remembers falling and hitting the concrete with the bridge of his nose
              11 before everything went black. Id., ¶ 11. When he regained consciousness, he was in leg
              12 restraints and handcuffs as four or five officers carried him into the sally-port. Id. His
              13 eyes were burning and tearing up, leading him to believe that he had been pepper-sprayed
              14 while unconscious. Id. In the sally-port, Officer               kicked him twice in his ribs
              15 with extreme force. Id. After being escorted to the mental health services building on
              16 Facility A, Officer          threatened to charge him with a fabricated staff assault if he filed
              17 a grievance about the incident. Id., ¶ 12.
              18         79.      After the incident, Mr.       was taken to the TTA and his injuries were
              19 documented and treated. Id., ¶ 14; Ex. 23a, at 1. In the immediate aftermath of the
              20 incident, Mr.         experienced mental health decompensation and engaged in self-
              21 injurious behavior, including banging his head against the wall of his holding cell and
              22 telling staff, “Come on, just kill me. You started it, now finish it.” Ex. 23, ¶ 15; Ex. 23a,
              23 at 3-5. Ultimately, Mr.         was placed in a mental health crisis bed. Ex. 23, ¶ 16. Other
              24 incarcerated people later told Mr.          that staff had assaulted him so badly that they
              25 believed that he had died. Id., ¶ 20; Ex. 11, ¶¶ 24-29; Ex. 54, ¶¶ 20-22.
              26         80.      On or around April 24, 2019, Mr.         witnessed events relevant to the staff
              27 assault on                      in Building 2 on Facility A. Ex. 23, ¶¶ 23-24. The incident
              28 involving Mr.              is discussed at Paragraphs 238-242, infra.
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               1              81.     Mr.       observed Officer           incite an incarcerated person over the
               2 loudspeaker saying, “Man, I’ll be at work at 2 p.m. tomorrow. Be on the yard then.” Ex.
               3 23, ¶ 25. Mr.              also heard Officer          threaten supervisory staff who told him that
               4 he could be disciplined for his conduct, stating, “Get the fuck out of here, I’ll beat your
               5 ass.” Id., ¶ 30.
               6              S.                                   DPM, EOP, 69 years old
               7              82.     Attached hereto as Exhibit 24 is a true and correct copy of a declaration
               8 from Armstrong and Coleman class member                              signed on January 7, 2020.
               9              83.     According to the declaration, on or around April 24, 2019, Mr.
              10 witnessed events relevant to the staff assault on                          in Building 2 on
              11 Facility A. Ex. 24, ¶¶ 7-17. The incident involving Mr.                    is discussed at
              12 Paragraphs 238-242, infra.
              13              84.     Sometime in September or October 2019, Mr.                  witnessed Officer
              14               close a cell door on an incarcerated person named Mr.               trapping
              15 Mr.                 arm. Ex. 24, ¶ 18. When Mr.             called out to Officer             to open
              16 the door, Officer                 told him to, “Shut up and go to chow.” Id.
              17              T.                                    DPO, DNH, CCCMS10
              18              85.     Attached hereto as Exhibit 25 is a true and correct copy of a declaration
              19 from Armstrong and Coleman class member                                signed on January 8, 2020.
              20 Attached hereto as Exhibit 25a are true and correct copies of excerpts of documents
              21 corroborating Mr.                declaration.
              22              86.     According to the exhibits, Mr.       has been closed in the cell door multiple
              23 times by different officers. Ex. 25, ¶¶ 9, 11. On April 6, 2019, Officer                     closed
              24 Mr.                cell door on him. Id., ¶ 11. Mr.       hand was pinned for about one to two
              25 minutes until Officer                 finally opened the cell door. Id., ¶ 11. Medical staff noted
              26 that Mr.             did not have any “apparent injuries, pain, or deformities…” Ex. 25a, at 1.
              27   10
                        Mr.         has a learning disability that is not yet verified by CDCR.
              28
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               1 The next day, however, moderate swelling and tenderness was observed and documented
               2 on Mr.            right hand by medical staff at an outside hospital. Id. at 3-4.
               3          87.     On or around April 23, 2019, Mr.         witnessed events relevant to the staff
               4 assault of an incarcerated person known as “             in Building 13 on Facility C. Ex. 25,
               5 ¶¶ 21-23. Mr.          observed         on the ground, in fetal position, handcuffed behind his
               6 back, while staff were kicking him in the head, beating him with batons and punching him.
               7 Id., ¶ 21. Mr.         recalls seeing Officer         kick         in the head and also observed
               8 Officer           and Officer          participate in the assault. Id. During part of the attack
               9          was limp, as if unconscious. Id.          was covered in blood. Id., ¶ 22. After the
              10 incident, Mr.         heard a staff member bragging that           was “as good as dead too.”
              11 Id., ¶ 23. Mr.         took this to mean that staff had killed         Id. The incident
              12 involving           was also witnessed by                    and is discussed at Paragraph 43,
              13 supra.
              14          U.                                 DPM, CCCMS, 52 years old
              15          88.     Attached hereto as Exhibit 26 is a true and correct copy of a declaration
              16 from Armstrong and Coleman class member                          signed on January 7, 2020.
              17          89.     According to the declaration, on July 1, 2019, Officer             escalated a
              18 disagreement with Mr.               sounded a “Code 1” alarm, and ordered him to be
              19 handcuffed behind his back, despite his disability and cane. Ex. 26, ¶¶ 6-7. Officer
              20               then grabbed Mr.           arm and forced it behind his back as Officer
              21 took away his cane and grabbed his right arm. Id., ¶ 8. Officer                 pushed
              22 Mr.             towards the ground and yelled, “stop resisting” even though he was not
              23 resisting. Id., ¶¶ 8-9. After the incident, Mr.           was found guilty of battery on a
              24 peace officer for which he received a credit loss of 150 days. Id., ¶¶ 12-14. Mr.
              25 was told his witnesses were not relevant and was not permitted to call any witnesses. Id.,
              26 ¶ 12. Mr.               RVR has also been referred to the District Attorney for criminal
              27 prosecution. Id., ¶ 13.
              28
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               1         V.                                     DLT, DNH, EOP, 58 years old
               2         90.     Attached hereto as Exhibit 27 is a declaration from Armstrong and Coleman
               3 class member                        signed on December 17, 2019. Attached hereto as
               4 Exhibit 27a is a true and correct copy of an excerpt of a document corroborating
               5 Mr.              declaration.
               6         91.     According to the exhibits, on May 1, 2018, after complying with orders to
               7 drop contraband he admits he was holding, Mr.                 was handcuffed and was not
               8 resisting, when Officer                   then grabbed the back of his head and slammed his
               9 face into the edge of a wooden table causing a black eye and possible concussion. Ex. 27,
              10 ¶¶ 8-9. Officer                   threatened that if Mr.         reported the cause of his
              11 injuries to medical staff he would receive a rules violation report for assaulting staff but, if
              12 he did not report the incident, he would not be written up for the contraband. Id., ¶ 11.
              13 Officer                then stood within a few feet of Mr.              during his medical
              14 evaluation. Id., ¶ 12. Mr.              did not report what Officer        had done to him out of
              15 fear of retaliation. Id. A medical note from the day of the incident indicates that
              16 Mr.            refused to be examined for an “old head injury.” Exhibit 27a, at 1.
              17         92.     Mr.             saw frequent assaults by officers on people with disabilities.
              18 Id., ¶ 16. A few months prior to the May 1, 2018 incident, Mr.                saw Officer
              19           dump a prisoner out of his wheelchair and slam him to the ground. Id., ¶ 16.
              20         93.     On April 18, 2019, Plaintiffs’ counsel sent a letter to Defendants, a true and
              21 correct copy of which is attached hereto as Exhibit 27b, requesting an investigation into
              22 the incident on May 1, 2018. On July 25, 2019, Defendants sent a letter, a true and correct
              23 copy of which is attached hereto as Exhibit 27c, indicating that Defendants had conducted
              24 a “thorough investigation” prior to receipt of Plaintiffs’ counsel’s letter and had found no
              25 evidence to support Mr.                 allegations. Ex. 27c, at 1-2.
              26         94.     Documents produced by Defendants, true and correct copies of which are
              27 attached hereto as Exhibit 27d, indicate that Mr.               was interviewed on January 29,
              28 2019 in response to a third-party report that Mr.              had been the victim of excessive
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               1 force. Ex. 27d, at DOJ00001061. The interviewing staff informed Mr.                 that he
               2 “had been identified … as being involved in an incident in which staff utilized excessive
               3 and or unnecessary force on him.” Id. The interviewing staff did not identify the date or
               4 nature of the incident or identify Officer       by name. Id. Defendants have not produced
               5 any documents indicating that Defendants conducted any investigation into Mr.
               6 allegations after receipt of Plaintiffs’ counsel’s letter, when Mr.         was no longer at
               7 RJD.
               8         W.                                DPM, DNH, 58 years old
               9         95.    Attached hereto as Exhibit 28 is a true and correct copy of a declaration
              10 from Armstrong and Coleman class member                       signed on January 7, 2020.
              11         96.    According to his declaration, on May 30, 2019, Mr.             witnessed
              12 events relevant to the staff assault on                in the Facility D dining hall. Ex. 28,
              13 ¶¶ 7-9. The incident involving Mr.             is further discussed at Paragraphs 66-67, supra.
              14         97.    In September 2019, Mr.             saw Officer           approach an
              15 incarcerated person in the dining hall and punch him without any provocation. Ex. 28,
              16 ¶ 10.
              17         X.                                   DNH, ICF11, 53 years old
              18         98.    Attached hereto as Exhibit 29 is a declaration from Armstrong and Coleman
              19 class member                      signed on February 10, 2020. Attached hereto as
              20 Exhibit 29a are true and correct copies of excerpts of documents corroborating
              21 Mr.               declaration.
              22         99.    According to the exhibits, on December 2018, Mr.               participated in
              23 interviews conducted by a team of outside investigators regarding his experiences with
              24 staff misconduct at RJD. Ex. 29, ¶¶ 26-27; Ex. 2, at 17. After Mr.               participated
              25 in a follow-up interview with investigators on February 11, 2019, staff on Facility C – who
              26   11
                   At the time of the events described in Mr.            declaration, Mr.              was in
              27 the Enhanced  Outpatient Program   (“EOP”).  He is now at an inpatient, Intermediate   Care
                 Facility.
              28
                                                              23                            Case No. C94 2307 CW
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               1 had become aware of the fact that Mr.               was speaking with outside investigators –
               2 began threatening him. Ex. 29, ¶¶ 32-34. The next day, February 12, 2019, Officer
               3 demanded to know what the investigation was about and what Mr.                      had said to
               4 investigators. Id., ¶ 35. Mr.              admitted that the interview was about staff
               5 misconduct on Facility C, but said he had not told investigators anything. Id. Officer
               6           next asked Mr.             whether he was coming out for dayroom later that day,
               7 and Mr.                said he was. Id.
               8           100.   At evening dayroom, Mr.              was assaulted, struck from behind, and
               9 knocked to the ground by another incarcerated person, who then repeatedly kicked and
              10 stomped Mr.                in the head until Mr.          lost consciousness. Id.¶ 36. At the
              11 hospital, a surgery was performed to mend a fracture in his orbital wall. Id. ¶ 37; Ex. 29a,
              12 at 3-4.
              13           101.   Mr.            was told later by an incarcerated person that Mr.             had
              14 assaulted him, that he was seen talking to Officers             and         immediately
              15 before the attack, and that the officers gave Mr.             a pair of gloves immediately
              16 before the attack. Ex. 29, ¶ 40.
              17           102.   Mr.            decompensated as a result of the incident. Id., ¶ 41. He was
              18 ultimately transferred to an inpatient program and, to this day, Mr.                experiences
              19 suicidal ideation as a direct result of his experiences with staff misconduct at RJD. Id.,
              20 ¶¶ 42, 45.
              21           103.   From December 2017 through January 2019, Mr.                 maintained a log,
              22 a true and correct copy of which is attached to his declaration as Exhibit A, of events he
              23 witnessed in order to document the frequency and severity with which staff assaulted
              24 people with disabilities and mental illness. Id., ¶ 6. The events were generally recorded
              25 within an hour of witnessing the officers’ misconduct, or as soon as he got back to his cell.
              26 Id. The log contains at least 43 discrete entries. See Ex. A to Ex. 29.
              27
              28
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               1              104.     On December 29, 2017, Mr.               witnessed Officer            Officer
               2               and other staff assault an EOP Coleman class member without any apparent
               3 justification in the dayroom of Building 15. Ex 29, ¶ 7 & Ex. A, at 1.
               4              105.     On January 2, 2018, Mr.              witnessed Officer               as well as
               5 search and escort officers, assault a handcuffed incarcerated person as he lay down on the
               6 dayroom of Building 15. Ex. 29, ¶ 8 & Ex. A, at 2.
               7              106.     On April 5, 2018, Mr.              witnessed events relevant to the assault of
               8 Mr.                 by staff. Ex. 29, ¶ 9 & Ex. A, at 3. Specifically, Mr.              saw Officers
               9                       and          rough Mr.         up outside of the dining hall on Facility C. Ex.
              10 29, ¶ 9 & Ex. A, at 3. The incident involving Mr.                  is discussed at Paragraph 207¸
              11 infra.
              12              107.     Just minutes after witnessing staff assault Mr.           Mr.
              13 witnessed five officers restraining and assaulting an Armstrong class member named
                                         12
              14                              Ex. 29, ¶¶ 10-12 & Ex. A, at 3. Officer         grabbed Mr.             face
              15 and slammed it into the gravel, holding it there for several minutes as the other officers
              16 punched and kicked him. Ex. 29, ¶¶ 10-12. Officer                       later kicked him in the face
              17 five to six times, as Officer                punched him in his head. Ex. 29, ¶ 11 & Ex. A, at 3.
              18 Officer                also stomped on his ankle, and then bounced up and down on it. Ex. 29,
              19 ¶ 11 & Ex. A, at 3.
              20              108.     As the officers escorted Mr.         to the gym, two officers went up to an
              21 unrelated person who was lying down on the yard in response to the alarm. Ex. 29, ¶ 13 &
              22 Ex. A, at 3. They cuffed him, and then, on their way to the gym, either Officer                      or
              23 Officer                walked up to him and punched him in the face for no apparent reason. Ex.
              24 29, ¶ 13.
              25
              26
              27   12
                        Mr.             CDCR number is              , and he is designated DNH.
              28
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               1         109.    On or around May 7, 2018, Mr.                witnessed events relevant to the
               2 staff assault on                   in the dining hall on Facility C. Ex. 29, ¶ 17 & Ex. A, at 6-
               3 7. The incident involving Mr.               is discussed at Paragraph 201, infra.
               4         110.    On August 25, 2018, Mr.               observed Officers          and        allow
               5 two ADA workers to assault an incarcerated person named Mr.                 Ex. 29, ¶ 18 & Ex.
               6 A, at 8.
               7         111.    On September 7, 2018, Mr.               left his cell in Building 15 to go to
               8 dinner. Ex. 29, ¶ 20 & Ex. A, at 9-10. While on the way, he heard medical staff tell
               9 Officer             and Officer            “You got a body laying outside the building… He’s
              10 all fucked up and not moving.” Ex. 29, ¶ 20. As Mr.                  walked toward the dining
              11 hall, he observed Mr.             lying against the chain link fence next to the building
              12 security gate. Id. Mr.            looked clearly unconscious, had multiple wounds on his
              13 face, and blood was running from his eyes and nose. Id. Upon discovering Mr.
              14 Officer             activated his alarm. Id. Officers          and         then walked over to
              15 Mr.            and started kicking and taunting him. Id., ¶ 21. Officer         first grabbed
              16 Mr.            by the arm and pushed him against the fence, calling him a “fucking piece of
              17 shit.” Id. He then began slapping Mr.              and smashing his face against the chain link
              18 fence. Id. Officer          held him pinned against the fence until the ambulance arrived.
              19 Id.
              20         112.    On September 30, 2018, Mr.                saw Officer        shove an elderly
              21 person named Mr.            to the ground after Mr.          protested the fact that Officer
              22        denied him breakfast. Ex. 29, ¶ 22 & Ex. A, at 11-12.
              23         113.    On October 24, 2018, Mr.               saw Officer         push an incarcerated
              24 person named Mr.            to the ground and kick him twice in the head in the middle of the
              25 dining hall. Ex 29, ¶ 23 & Ex. A, at 14-15. After dinner, Officer             and another
              26 officer chased Mr.          toward Building 14. Ex. 29, ¶ 24 & Ex. A, at 14-15. The
              27 officers tackled him, beat him up, and then dragged him to the gym. Ex. 29, ¶ 24. When
              28
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               1 Mr.              tried to report what he had witnessed to a nearby sergeant and Lieutenant
               2          staff ignored him. Ex 29, ¶ 25 & Ex. A, at 14-15.
               3         114.     On January 21, 2019, Mr.              witnessed Officer         and Officer
               4                assault Armstrong and Coleman class member                      Ex. 29, ¶ 29 & Ex.
               5 A, at 21. The incident is further described at Paragraph 259, infra.
               6         Y.                                     DPM13, EOP, 55 years old
               7         115.     Attached hereto as Exhibit 30 is a declaration from Armstrong and Coleman
               8 class member                          signed on January 6, 2020. Attached hereto as
               9 Exhibit 30a are true and correct copies of excerpts of documents corroborating
              10 Mr.                declaration.
              11         116.     According to the exhibits, on April 14, 2018, Mr.              approached
              12 Sergeant             in the Facility E dining hall to ask why he had been released late for
              13 breakfast, impacting his ability to obtain his special diet. Ex. 30, ¶¶ 9-10. In response,
              14 Sergeant             ordered Officers          and           to handcuff Mr.            and
              15 escort him to the program office. Id., ¶ 10. Once in the program office, the officers
              16 slammed Mr.                against the wall, dragged him into the doorway of a holding cell,
              17 and Officer            punched him in the back of his head, causing him to fall face-first into
              18 the concrete floor of the holding cell. Id., ¶¶ 12-14. After being interviewed by Lieutenant
              19            Mr.            received medical attention at the TTA, where a 4.2 centimeter
              20 laceration was documented on his chin and repaired with 5 sutures. Id., ¶ 18; Ex. 30a, at 1-
              21 5. That night, Officer             refused Mr.                repeated requests for medical
              22 attention despite the fact that Mr.              reported he was in serious pain. Ex. 30, ¶ 19.
              23 After the incident, Officer            bragged to another incarcerated person about the fact
              24 that he had worsened Mr.                  disability. Id., ¶ 25.
              25
              26
                   13
              27    At the time of the events described in his declaration, Mr.              was designated
                   DLT.
              28
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               1         117.    Sometime in 2018, Mr.               witnessed Officers          and
               2 assault a person who refused to take off his hat in the dining hall. The officers slammed
               3 the person against the wall of the dining hall and then dragged him toward the direction of
               4 the program office. Id., ¶ 27.
               5         118.    Documents produced by Defendants, true and correct excerpted copies of
               6 which are attached hereto as Exhibit 30b, indicate that Defendants concluded that there
               7 was “no substantiating evidence of any…allegations made against Officers
               8                   and Sergeant             and “it is conceivable that he possibly caused his
               9 own injury.” Exhibit 30b, at DOJ00001268-69. The Warden, through the Institutional
              10 Executive Review Committee (“IERC”), signed off on this finding. Id. at DOJ00001260.
              11         Z.                                    DD2, DPM, EOP, 71 years old
              12         119.    Attached hereto as Exhibit 31 is a declaration from Armstrong, Clark, and
              13 Coleman class member                         signed on January 8, 2020.
              14         120.    According to the declaration, sometime in the latter half of 2019, Mr.
              15 witnessed Officers          and              pepper spray an incarcerated person in response to
              16 his request to go to a crisis bed. Ex. 31, ¶ 9. After spraying him, the officers left him in
              17 his cell without decontaminating him or otherwise providing him with assistance. Id.
              18         121.    Mr.         witnessed many people in Building 15 commit suicide after
              19 being ignored by staff while they loudly call out for help. Id., ¶ 11.
              20         122.    In April 2017, Mr.           witnessed the aftermath of the murder of an
              21 incarcerated person,                 in Building 15. Id., ¶ 13. Officers left Mr.
              22 body in his cell for three or four days, and Mr.           recalls that the entire unit smelled
              23 of rot. Id.
              24         AA.                            EOP, 32 years old
              25         123.    Attached hereto as Exhibit 32 is a declaration from Coleman class member
              26 Tony           signed on January 30, 2020.
              27         124.    According to the declaration, in August 2019, Mr.          asked Officer
              28           to speak with his clinician because he was feeling suicidal. Ex. 32, ¶ 7. In
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               1 response, Officer           told Mr.        “You are crying too much. You need to shut up
               2 and do what everyone is doing in the dayroom.” Id. Officer                 then started searching
               3 Mr.             cell. Id., ¶ 8. After Mr.      stated that he intended to report Officer
               4 Officer          forcefully took Mr.         to the ground, pinned his head to the floor, and
               5 kneed him in the back. Id.
               6          125.    In October 2019, Mr.          told Officer        that he was feeling suicidal
               7 and needed to speak with his clinician. Id., ¶ 9. Instead, Officer              returned him to
               8 his cell and told him, “Go ahead and cut yourself.” Id. Another officer present stated,
               9 “We will give you a razor.” Id.
              10          126.    Mr.        also witnessed events relevant to the staff assault of Armstrong
              11 and Coleman class member                             in January 2020. Id., ¶¶ 15-16. The
              12 incident involving Mr.                 is discussed at Paragraph 21, supra.
              13          127.    In the summer of 2019, Mr.          witnessed Officer           throw a person
              14 named Mr.                  to the ground and knee him in the back. Id., ¶ 13. As
              15 Mr.                 lay on the ground in handcuffs, seven or eight officers piled on him,
              16 roughed him up, and smashed his face into the ground. Id.
              17          BB.                                DPO, EOP, 59 years old
              18          128.    Attached hereto as Exhibit 33 is a declaration from Armstrong and Coleman
              19 class member                     signed on January 8, 2020. Attached hereto as Exhibit 33a
              20 are true and correct copies of excerpts of documents corroborating Mr.                declaration.
              21          129.    According to the exhibits, on November 8, 2017, staff attempted to house
              22 Mr.         with an incarcerated person with whom he felt unsafe. Ex. 33, ¶ 9. When
              23 Mr.         expressed his concerns, Officer            cuffed him and placed him in a cage in
              24 the Facility C gym. Id. A few minutes later, Officers                                         and
              25        forced Mr.          out of the cage, pepper sprayed, kicked, punched, and stomped on
              26 him while he lay on the floor. Id., ¶ 10. Mr.            suffered fractures to his right foot and a
              27 finger on his left hand as a result of the attack. Id.; Ex. 33a, at 1-6.
              28
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               1         130.     After Mr.        filed a lawsuit about the incident, Officers       and
               2 harassed him in a number of ways, including threatening to place an assaultive person in
               3 his cell in February 2019 and manufacturing PREA charges against him in May 2019. Ex.
               4 33, ¶¶ 17, 18.
               5         131.     In 2018, Mr.         witnessed Officer       grab an elderly Coleman class
               6 member bystander and slam him to the ground after he asked staff to let him move out of
               7 the way of a stream of pepper-spray. Id., ¶ 20. Officer           grabbed the man’s face and
               8 forced it into the pool of pepper spray on the ground. Id. Once a group of officers had
               9 finished assaulting the elderly man, the officers picked up his bloody head, showing it off
              10 to the rest of the dining hall. Id.
              11         132.     In December 2018, Mr.          saw staff escort a transgender person named
              12 “         into the gym. Id., ¶ 22. Mr.          heard her yell from inside the gym, “That’s
              13 enough, that’s enough. Alright. Please stop!” Id. When Mr.               returned to his
              14 housing unit, there was a big pool of blood on the dayroom floor, and everyone in the unit
              15 said that it was             blood. Id.
              16         CC.                                               CCCMS, 26 years old
              17         133.     Attached hereto as Exhibit 34 is a declaration from transgender Coleman
              18 class member                      signed on January 7, 2020. Attached hereto as Exhibit 34a
              19 are true and correct copies of excerpts of documents corroborating Ms.               declaration.
              20         134.     According to the exhibits, on June 19, 2019, Officer            ordered
              21 Ms.        to strip for an unclothed search in Building 10 on Facility B. Ex. 34, ¶ 7. When
              22 Ms.        asked to be searched by a female officer instead, Officer             called her a “gay
              23 boy,” and a “tranny,” and then handcuffed her and locked her in the shower. Id. Once
              24 everyone had left the housing unit, Officer            returned with five to ten other officers
              25 and ordered Ms.          to remove her underwear. Id., ¶ 8. She complied out of fear. Id.
              26 Officer            then pushed her onto the ground, and started knocking Ms.               head
              27 against the ground with one hand and choking her with the other as the other officers
              28 watched. Id. The beating continued for two minutes. Id. After Officer                 restrained
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               1 and handcuffed her, Ms.                attempted to pull her underwear back up. Id., ¶ 9. In
               2 response, Officer              pulled her underwear down and forcefully penetrated her anus
               3 with his finger. Id. After officers escorted Ms.             to the TTA, one officer told medical
               4 staff that Ms.           had fallen in the shower. Id. ¶ 10. Ms.         told medical staff that she
               5 had in fact been assaulted by staff, and medical staff documented bruises, abrasions,
               6 bleeding, and redness on Ms.                 upper face. Id.; Ex. 34a, at 1-5. In the days
               7 following the incident, Ms.              experienced sensitivity to light and headaches, leading
               8 her to believe that she suffered a concussion related to the incident. Ex. 34, ¶ 13.
               9              135.   On November 19, 2019, Ms.            witnessed staff assault a transgender
              10 Coleman class member,                                 in the dining hall on Facility A. Id., ¶ 15.
              11 After Ms.                 refused an officer’s order to tuck her shirt in, one officer forcibly
              12 grabbed her pants and yanked them up, then three officers took her to the ground,
              13 restrained her, and escorted her out of the dining hall. Id. Armstrong and Coleman class
              14 member declarant                        also witnessed the assault on Ms.             See Ex. 52,
              15 ¶ 8.
              16              DD.                                      DPO, DNH, CCCMS, 59 years old
              17              136.   Attached hereto as Exhibit 35 is a declaration from Armstrong and Coleman
              18 class member                                signed on January 7, 2020. Attached hereto as
              19 Exhibit 35a are true and correct copies of excerpts of documents corroborating
              20 Mr.                     declaration.
              21              137.   According to the exhibits, on February 19, 2019, Officer            refused to
              22 provide Mr.                   with a wheelchair pusher because he claimed that Mr.
              23 could walk. Ex. 35, ¶ 8. Later that day, Officer               denied Mr.               access to
              24 the shower after he had an accident, making him wear a dirty diaper all day. Id., ¶ 9. Two
              25 days later, Officer             screamed at Mr.                telling him, “Put your fucking
              26 [disability] vest on you piece of shit. Get the fuck out of here, you don’t need a
              27   14
                        Ms.              CDCR number is                and she is at the CCCMS level of care.
              28
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               1 wheelchair.” Id., ¶ 10. After he filed 1824 disability grievance about Officer
               2 misconduct, a lieutenant pressured Mr.                    into withdrawing his 1824. Id., ¶ 11;
               3 Ex. 35a, at 1-4. Mr.                withdrew the 1824 because he feared further retaliation.
               4 Ex. 35, ¶ 11.
               5         EE.                                       DPM, 65 years old
               6         138.    Attached hereto as Exhibit 36 is a declaration from Armstrong class member
               7                      signed on January 7, 2019. Attached hereto as Exhibit 36a are true and
               8 correct copies of documents corroborating Mr.                      declaration.
               9         139.    According to the exhibits, in approximately April 2017, Officer
              10 stuck her hands inside Mr.                    pants and kept them there for approximately thirty
              11 seconds during a search outside of the chapel. Ex. 36, ¶ 7. Mr.                    reported the
              12 incident to his pastor as well as Officer             Id. In response to his complaint, Officer
              13           went and got Officers             and           who proceeded to threaten him saying,
              14 “We know where you live, we are going to get you.” Id. Officer                     also joined in,
              15 telling him that the lieutenant wanted his allegations “dropped.” Id. Mr.
              16 agreed to not file an appeal out of fear of retaliation. Id.
              17         140.    On April 19, 2018 Officer              closed a cell door on Mr.
              18 who ambulates slowly and with a walker. Id., ¶ 8. Five days later, on April 24, 2018,
              19 Officer            closed the door on him twice in one day, knocking him down against the
              20 wall with his walker. Id. Each time, Mr.                    observed Officer             smiling at
              21 him as she moved his door back and forth. Id.
              22         141.    On September 29, 2019, Officer              crushed Mr.                  hand in his
              23 cell door. Id., ¶ 9. Mr.               filed an 1824 about this issue. Id.; Ex. 36a, at 1-2.
              24 The next day, Officer             Officer          cousin, threatened Mr.                 “Heard
              25 you’re going to sue my cousin?,” which led Mr.                    to withdraw his 1824 out of
              26 fear. Ex. 36, ¶10. On December 3, 2019, Office                 closed the cell door on
              27 Mr.                injuring one of his ribs. Id., ¶ 11.
              28
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               1         142.     Mr.               also witnessed Officer         close the cell door on
               2 Mr.            in the spring of 2019, discussed in Paragraph 57, supra. Id., ¶ 13.
               3         FF.                                        DNM, CCCMS, 45 years old
               4         143.     Attached hereto as Exhibit 37 is a declaration from Armstrong and Coleman
               5 class member                              signed on January 8, 2020. Attached hereto as
               6 Exhibit 37a are true and correct copies of excerpts of documents corroborating
               7 Mr.                     declaration.
               8         144.     According to the exhibits, on November 2, 2019, Officer                    asked if
               9 Mr.                    was “retarded or stupid” after Mr.                had gotten up to throw
              10 away his food. Ex. 37, ¶ 8. In response to Mr.                      asking for Officer
              11                 name so he could report his comment, Officer                    told him to step
              12 outside and then proceeded to conduct a forceful search whereby he squeezed
              13 Mr.                     nipples and whispered in his ear, “Next time, do the fuck what you are
              14 told.” Id. Two days later, Mr.                     told a clinician about Officer
              15 misconduct. Ex. 37a, at 1-3.
              16         145.     After Mr.                  filed a grievance against Officer               Officer
              17               harassed Mr.                   on a number of occasions. Ex. 37, ¶¶ 11-14. On
              18 November 10, 2019, Officer                    shined his flashlight into Mr.                   cell
              19 while staring and smiling at him in a threatening manner. Id., ¶ 11. The next day, Officer
              20               smiled at Mr.                  again and blew him a kiss. Id., ¶ 12.
              21 Mr.                    reported the harassment to his clinician. Ex. 37a, at 5-7. Finally, on
              22 December 1, 2019, staff attempted to transfer Mr.                     to Building 13, the unit
              23 where Officer                 regularly works. Ex. 37, ¶ 15.
              24         146.     Mr.                   witnessed Officers                and               allow
              25 incarcerated people to attack other incarcerated people in multiple instances. Id., ¶ 18. He
              26 has seen staff members laugh when incarcerated people get attacked. Id.
              27
              28
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               1         147.   Mr.               witnessed Officer         encourage a suicidal person to
               2 harm themselves, saying, “Go ahead! I don’t believe you, you’re all talk until I see you do
               3 it. Prove it….” Id., ¶ 19.
               4         GG.                                  DNH, DNM, EOP, 51 years old
               5         148.   Attached hereto as Exhibit 38 is a declaration from Armstrong and Coleman
               6 class member                      signed on December 16, 2019. Attached hereto as
               7 Exhibit 38a are true and correct copies of excerpts of documents corroborating
               8 Mr.             declaration.
               9         149.   According to the exhibits, in August 2018, Mr.           participated in Joint
              10 Audit interviews conducted by Plaintiffs’ counsel and members of CDCR’s Office of
              11 Audits and Court Compliance (“OACC”) where he reported witnessing Officer
              12          engage in misconduct. Ex. 38, ¶ 6. A month later, on September 18, 2018,
              13 Mr.            was interviewed by ISU Lieutenant                about whether he had any
              14 complaints against Officer                 Id., ¶ 7. Approximately one month later, on
              15 October 14, 2018, Mr.            was critically injured when he was stabbed by incarcerated
              16 people on the yard of Facility C. Id., ¶¶ 8-9. After being hospitalized for twelve days,
              17 Mr.            was returned to RJD on October 27, 2018. Id., ¶ 10; Ex. 38a, at 1. On his
              18 return, one of Mr.             attackers indicated that he had been paid by Officer
              19          with a cell phone to stab Mr.          Ex. 38, ¶ 10.
              20         150.   On January 8, 2019, Plaintiffs’ counsel sent an advocacy letter, a true and
              21 correct copy of which is attached hereto as Exhibit 38b, to Defendants requesting an
              22 investigation into Mr.            allegations. On July 17, 2019, Defendants sent a
              23 responsive letter, a true and correct copy of which is attached hereto as Exhibit 38c,
              24 indicating that Defendants had found that Mr.              allegations had been “discredited
              25 by overwhelming evidence.” Ex. 38c, at 3. Despite Mr.                 allegation that he had
              26 been stabbed in retaliation for participating in the joint monitoring audit conducted by
              27 Plaintiffs’ counsel and OACC, Defendants did not log Mr.                allegations on the
              28 Armstrong non-compliance logs.
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               1         151.   In June 2018, Mr.             witnessed Officer                 jump on
               2            and throw him to the ground because he did not respond to Officer
               3 calling his name as he was walking back to his cell. Ex. 38, ¶ 15.
               4         152.   In June or July 2018, Mr.             witnessed Officer                  grab an
               5 elderly Armstrong class member in a wheelchair by the neck and slam him to the ground in
               6 Building 12 because he did not immediately return to his cell after Officer
               7 ordered him to do so. Officer                  and other officers then punched the person
               8 repeatedly in the face and kneed him in the neck. Id., ¶ 16.
               9         153.   In another instance, Mr.            saw Officer                 place a person in a
              10 chokehold and then slam him to the ground. Id., ¶ 17. After the person was cuffed,
              11 Officer                and Officer           continued to assault him. Id.
              12         154.   In April or May 2017, Mr.              saw Officer                 and other
              13 officers flip an Armstrong class member out of his wheelchair and beat him while he lay
              14 defenseless. Id., ¶ 18. After the assault, the person’s face was covered in blood. Id.
              15         HH.                                     DPM, CCCMS, 65 years old
              16         155.   Attached hereto as Exhibit 39 is a declaration from Armstrong and Coleman
              17 class member                         signed on January 7, 2020.
              18         156.   According to the declaration, on August 27, 2018, only a few days after
              19 Mr.            had been transferred to RJD, Officer           told Sergeant               that
              20 Mr.            was “a problem.” Ex. 39, ¶ 6. The sergeant then ordered Mr.                 to go
              21 with Officer           to a medical trailer. Id., ¶ 7. Once they got there, Officer
              22 pushed Mr.            twice without any provocation, and slammed his body into a nearby
              23 desk, before leaning his full body weight on Mr.                 Id. Officer          then ripped
              24 out some of Mr.              beard and attempted to incite him into fighting back. Id.
              25         157.   After Mr.             filed a staff misconduct complaint against Officer
              26 on September 27, 2018, Officer               confronted him and ordered him, “Drop the 602!”
              27 Id., ¶ 9. On October 3, 2018, Officer              gestured for Mr.            to enter the sally-
              28 port of Building 3 with him. Id., ¶ 10. Fearing an assault, Mr.                refused. Id. On
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               1 October 3, 2018, as Mr.             was waiting for a medical appointment, Officer
               2 threatened to knock out Mr.               remaining eye (he is missing one eye) and blind
               3 him. Id., ¶ 11.
               4         II.                                  DPW, CCCMS, 58 years old
               5         158.   Attached hereto as Exhibit 40 is a declaration from Armstrong and Coleman
               6 class member                      signed on January 19, 2020.
               7         159.   According to the declaration, on June 9, 2017, Mr.            filed a 602 staff
               8 misconduct grievance against the tower officer in Building 5 on Facility A for denying him
               9 access to religious services. Ex. 40, ¶ 6. In the year that followed, Mr.           faced a
              10 number of instances of harassment by officers. On August 14, 2017, staff closed the cell
              11 door on Mr.            leaving him pinned in his wheelchair for about 15 minutes. Id., ¶ 7.
              12 On many occasions, Officers                  and        denied him access to dayroom and
              13 Officer           violated the confidentiality of his legal mail by reading it before handing it
              14 to him. Id., ¶ 8. Staff also refused him access to ADA workers, the shower, the yard, and
              15 the dayroom phones. Id., ¶ 10.
              16         160.   Plaintiffs’ counsel reported Mr.            allegations in their October 2017
              17 Armstrong Monitoring Tour Report. Ex. 73, at 3. Defendants’ response to Plaintiffs’
              18 Report indicated that Mr.             allegations could not be confirmed. Ex. 73, at 4-5.
              19 Documents produced by Defendants in the current litigation, true and correct excerpted
              20 copies of which are attached hereto as Exhibit 40a, indicate that Mr.              allegations
              21 were not confirmed and contend that he was retaliating against staff for raising the issue
              22 with Plaintiffs’ counsel in addition to filing an 1824. Ex. 40a, DOJ00000173, 175. The
              23 1824 response he received failed to address his issue stating, “this request raises no
              24 Americans with Disabilities Act … issue.” Ex. 40a, DOJ00000181, 184, 189-191.
              25         161.   In approximately June 2017, Mr.            witnessed staff assault an unresisting
              26 EOP prisoner on the yard of Facility A while Sergeant             watched. Ex. 40, ¶ 13.
              27
              28
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               1         JJ.                                 DPM, 43 years old
               2         162.    Attached hereto as Exhibit 41 is a declaration from Armstrong class member
               3                  signed on January 30, 2020. Attached hereto as Exhibit 41a are true and
               4 correct copies of excerpts of documents corroborating Mr.                declaration.
               5         163.    According to the exhibits, on December 16, 2018, Mr.             who uses a cane
               6 and walker to ambulate, asked Officer                    for access to an ADA shower. Ex. 41,
               7 ¶ 8. In response, Officer                   told Mr.     to “Shut the fuck up,” and “[i]f you
               8 write me up, I’m going to have other inmates fuck you up.” Id. In the months that
               9 followed, Officer                  harassed and threatened Mr.          on numerous occasions.
              10 Id., ¶ 9. In one instance, on January 26, 2019 Officer                     approached Mr.
              11 while he was showering and shined his flashlight on Mr.                genitals while staring him
              12 down. Id. After filing a staff misconduct grievance about this incident, an Investigative
              13 Services Unit (“ISU”) sergeant told Mr.           on January 29, 2019 that he did not believe
              14 him and that nothing was going to come of Mr.              complaint. Id., ¶ 10.
              15         164.    Mr.      also faced threats of retaliation after filing his 602 staff misconduct
              16 complaint against Officer                    Id., ¶ 11. Sometime around the end of February,
              17 Officer           approached him and told him, “You like writing us up? We’re going to
              18 fuck your ass up. We’re part of the Green Wall.” Id. A few days later, two incarcerated
              19 people approached Mr.          and told him, “If you don’t drop the 602 [against Officer
              20            we’ll fuck you up.” Id., ¶ 12.
              21         165.    Mr.      also received multiple threats of violence from incarcerated people
              22 after he filed a 602 staff misconduct complaint against Officer                for refusing to
              23 provide Mr.         access to his diabetic medications in March 2019. Id., ¶ 14.
              24         166.    On April 18, 2019, three incarcerated people stabbed Mr.            on the track of
              25 the Facility C yard. Id., ¶ 15; Ex. 41a, at 1-2. Mr.         believes that Officer
              26 orchestrated the attack on him because Officer                      had threatened to have Mr.
              27 assaulted multiple times and, before the stabbing, Mr.             also witnessed Officer
              28           afford special privileges to his attackers. Id., ¶ 17.
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               1         167.   On February 26, 2019, Plaintiffs’ counsel sent a letter to Defendants, a true
               2 and correct copy of which is attached hereto as Exhibit 41b (enclosures to letter omitted),
               3 requesting an investigation into Mr.        allegations. On October 23, 2019, Plaintiffs’
               4 counsel sent a supplemental letter to Defendants, a true and correct copy of which is
               5 attached hereto as Exhibit 41c, requesting an investigation into the allegation that Officer
               6                orchestrated the attack on Mr.        On October 23, 2019, Defendants sent a
               7 letter, a true and correct copy of which is attached hereto as Exhibit 41d, indicating that
               8 Defendants had “investigated the allegation a month before receiving” Plaintiffs’
               9 February 26, 2019 letter and found that “none of the allegations could be substantiated by
              10 evidence.” Ex. 41d, at 1, 3. Notably, Defendants did not address Mr.           allegations
              11 that Officer               threatened Mr.        on multiple occasions with physical violence
              12 in retaliation for utilizing the appeals system. Ex. 41d. Defendants have also not
              13 responded to any of the allegations contained in Plaintiffs’ October 23, 2019 letter.
              14         168.   In their response, Defendants explained that Mr.         allegations had been
              15 referred to OIA, who rejected the allegation and returned it to RJD for further inquiry. Ex.
              16 41d, at 2. As part of the further inquiry, Mr.       was interviewed again on July 30, 2019,
              17 and he raised three other allegations involving Officer                 Id. In making the
              18 determination that these allegations were unsupported, Defendants stated that “additional
              19 staff and inmates were interviewed, including a former cellmate who reported that Mr.
              20 routinely files false complaints against staff.” Id.
              21         169.   Documents produced by Defendants, true and correct copies of which are
              22 attached hereto as Exhibit 41e, indicate that the initial inquiry found that “Inmate     was
              23 being misleading in his allegation with an ulterior motive of discrediting Officer           and
              24 determined that his allegations could not be substantiated. Ex. 41e, at DOJ00002946-
              25 2949.
              26         KK.                              DPW, CCCMS, 55 years old
              27         170.   Attached hereto as Exhibit 42 is a declaration from Armstrong and Coleman
              28 class member                   signed on January 7, 2020. Attached hereto as Exhibit 42a
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               1 are true and correct copies of excerpts of documents corroborating Mr.
               2 declaration.
               3         171.   According to the exhibits, on August 6, 2019, two transportation officers
               4 wheeled Mr.            through the Facility B gate for an outside medical appointment.
               5 Exhibit 42, ¶ 6. The officer pushing Mr.             wheelchair – Officer 1 – proceeded to
               6 push Mr.           directly into a large and visible hole in the pavement. Id. Although the
               7 wheel became stuck in the hole, Officer 1 kept pushing, launching Mr.               from his
               8 wheelchair and onto the pavement. Id. Mr.                injuries were then documented by
               9 medical staff at the TTA. Id., ¶ 10; Exhibit 42a, at 1-3. Mr.          still experiences
              10 chronic pain in his knee and wrist related to this incident. Exhibit 42, ¶ 17; Exhibit 42a, at
              11 5-6.
              12         172.   After filing a 602 staff misconduct appeal against Officer 1, Mr.            was
              13 interviewed by a sergeant, a lieutenant, and Officer 1. Exhibit 42, ¶¶ 12-13. During the
              14 interview, after Mr.          described the events, the sergeant pointed to an officer
              15 standing in the room and asked if he was the officer responsible. Id., ¶ 13. Mr.
              16 had not realized that Officer 1 was present during the interview because he was wearing a
              17 hat very low on his head. Id. After the interview, Officer 1 threatened Mr.
              18 saying, “I remember everything.” Id., ¶¶ 13-14.
              19         LL.                                DPM, 48 years old
              20         173.   Attached hereto as Exhibit 43 is a declaration from Armstrong class member
              21                   signed on January 7, 2020. Attached hereto as Exhibit 43a are true and
              22 correct copies of excerpts of documents corroborating Mr.                  declaration.
              23         174.   According to the exhibits, on May 17, 2019, after an argument with a group
              24 of incarcerated people about his cellmate’s debts, Mr.            observed that group talking
              25 to Officers         and         while looking at him. Ex. 43, ¶¶ 7-8. After Mr.
              26 entered his cell and staff closed the door, three people from the group approached his cell
              27 and asked Mr.             to turn over his cellmate’s T.V. Id., ¶ 9. Mr.            told them to
              28 take up the problem with his cellmate. Id. Officer              the control tower officer then
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               1 opened the cell door. Id. Two people from the group entered Mr.                  cell and
               2 assaulted him while the third person stood watch. Id., ¶¶ 9-10. The attack lasted minutes
               3 and Mr.             thought the people were going to kill him. Id ¶ 10. While being
               4 attacked, Mr.            saw Officers         and         look over at him as he lay on the
               5 floor of his cell and then saw them walk to a section of the housing unit where they could
               6 no longer see the attack. Id., ¶ 11. None of the officers present sounded their alarms. Id.
               7         175.    After the incident, Mr.           attempted to get medical attention but was
               8 not let out of his cell to access medical care for three hours. Id., ¶ 14; Ex. 43a, at 1-2. He
               9 witnessed other incarcerated people attempt to obtain medical attention on Mr.
              10 behalf, but saw Officers          and         wave them away. Ex. 43, ¶ 13. Eventually,
              11 Mr.             was transported to an outside hospital, where he was diagnosed with three
              12 facial fractures. Id., ¶ 15; Ex. 43a, at 4. Mr.          required two surgeries to repair the
              13 damage. Ex. 43a, at 6-9.
              14         176.    On July 17, 2019, Plaintiffs’ counsel sent a letter to Defendants, a true and
              15 correct copy of which is attached hereto as Exhibit 43b, requesting an investigation into
              16 the March 17, 2019 incident. On November 19, 2019, 125 days later, Defendants sent a
              17 letter to Plaintiffs’ counsel, a true and correct copy of which is attached hereto as
              18 Exhibit 43c, indicating that Defendants had conducted a “thorough investigation” prior to
              19 receipt of Plaintiffs’ counsel’s letter and had found that Mr.             allegations were not
              20 supported by the evidence. Ex. 43c, at 1-3. Despite medical evidence of serious injuries,
              21 CDCR reaches that conclusion because: (1) staff implicated in the allegations denied that
              22 there was an incident on March 17, 2019 and (2) three incarcerated people interviewed
              23 denied observing an incident consistent with Mr.                 allegations. Ex. 43c. The
              24 letter did not mention or provide an explanation for how Mr.              sustained his
              25 injuries. Id. Documents produced by Defendants, true and correct copies of which are
              26 attached hereto Exhibit 43d, indicate that Mr.               medical records were not
              27 consulted during RJD’s inquiry. Ex. 43d, at DOJ00012972-77. In finding that there was
              28 “no merit” to Mr.              complaint, the inquiry relied on interviews with staff
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               1 members – all of whom denied witnessing any incident involving Mr.                on March
               2 17, 2019. Id. at DOJ00012973-75.
               3         177.   In 2016, Mr.           witnessed staff assault a Coleman class member after
               4 he tried to get more Kool-Aid during dinner. Ex. 43, ¶ 21. After the incarcerated person
               5 walked out of the dining hall, Officer        and other officers tackled him to the ground
               6 during a search and beat him, stomping on his arm and punched and kicking him while he
               7 lay on the ground. Id.
               8         MM.                                  Acute15, 38 years old
               9         178.   Attached hereto as Exhibit 44 is a true and correct copy of a declaration
              10 from Coleman class member                          signed on February 6, 2020. Attached
              11 hereto as Exhibit 44a are true and correct copies of documents corroborating
              12 Mr.              declaration.
              13         179.   According to the exhibits, on December 4, 2019, Officer            escorted
              14 Mr.            and left him in handcuffs in his cell from 9:00 p.m. until 7:00 a.m. the next
              15 morning. Ex. 44, ¶¶ 10-14. In the middle of the night, Mr.                experienced a
              16 diabetic emergency. Id., ¶ 13. When an officer responded, Mr.                held up his
              17 glucometer to the cell window such that the officer could see the cuffs on his wrist. Id.
              18 The officer, however, did not remove Mr.               cuffs. Id. The next morning, after a
              19 lieutenant conducted an interview with Mr.              Sergeant           removed the cuffs
              20 at around 7:00 a.m. Id., ¶ 14. Logs maintained by housing unit staff in Building 6 indicate
              21 that staff did not log any activity in the nearly ten hour period between Mr.
              22 return from the hospital and the discovery of the situation by Sergeant           at 6:40 a.m.
              23 Exhibit 44a, at 1-2. Sergeant             entry reads: “removed from cell due to flex cuff.
              24 CDCR 7219 completed, video interview conducted.” Id. at 2.
              25
              26
                   15
              27    At the time of the events described in his declaration, Mr.       was in the Enhanced
                   Outpatient Program. He is now housed in an inpatient acute mental health care facility.
              28
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               1         NN.                              DPM, DNH, 57 years old
               2         180.    Attached hereto as Exhibit 45 is a true and correct copy of a declaration
               3 from Armstrong class member Andre               signed on January 7, 2020. Attached hereto
               4 as Exhibit 45a are true and correct copies of excerpts of documents corroborating
               5 Mr.            declaration.
               6         181.    According to the exhibits, on September 1, 2019, Officer             cuffed
               7 Mr.         in order to administer a urinalysis test. Ex. 45, ¶¶ 5-6. When Mr.          asked
               8 for an accommodation – to be cuffed using waist-chains so that he could use his walker or
               9 cane for support – Officer            refused and replied, “You’re an asshole…You’re the
              10 cause of a lot of stuff around here.” Id., ¶ 6. After Mr.         asked for a sergeant, Officer
              11           again called him an “asshole” and then threw him to the concrete ground. Id., ¶ 8.
              12 After an officer from the yard arrived (“Officer B”), Officer             and Officer B
              13 escorted Mr.          to the toilet. Id., ¶ 9. Without warning, Officer B pulled down
              14 Mr.            pants and underwear, and held a urine collection cup to his penis. Id., ¶ 10.
              15 Mr.         was not uncuffed and ended up urinating all over himself. Id. Mr.             was
              16 later denied medical attention by Officer             Id., ¶ 11. When Mr.          was seen by
              17 medical staff two days later Mr.          reported that staff had thrown him to the ground
              18 after a verbal altercation. Exhibit 45a, at 1. Mr.          initially received an RVR for
              19 delaying an officer, however that was dismissed on October 4, 2019 “based on the lack of
              20 adherence to the UA collection process.” Ex. 45c, at DOJ00000503.
              21         182.    On October 29, 2019, Plaintiffs’ counsel sent a letter to Defendants, a true
              22 and correct copy of which is attached hereto as Exhibit 45b (Exhibits to letter omitted),
              23 requesting an investigation into the September 1, 2019 incident.
              24         183.    Documents produced by Defendants in the current litigation, true and correct
              25 excerpted copies of which are attached hereto as Exhibit 45c, include a signed
              26 memorandum from ADA Coordinator (“ADAC”) Juarez to myself responding to the
              27 allegations contained in Plaintiffs’ October 29, 2019 letter. Ex. 45c, at DOJ00000502-04.
              28 The memo finds that Mr.             allegations of non-compliance could not be confirmed,
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               1 but notes that the Chief Disciplinary Officer “elected to dismiss the RVR based on the UA
               2 collection not being followed by Officer                  without any further explanation as to
               3 how the violation was disconfirmed. Id. at DOJ00000503-04
               4          184.     Mr.       also witnessed officers assault a person named
               5 (              sometime in September 2019. Ex. 45, ¶ 20. Following a verbal altercation,
               6 three officers rushed into Mr.           cell, knocked him to the floor, and assaulted him
               7 despite his being compliant and non-resistive through the incident. Id., ¶ 21.
               8          OO.                            DPM, CCMS, 79 years old
               9          185.     Attached hereto as Exhibit 46 is a true and correct copy of a declaration
              10 from Armstrong and Coleman class member                          signed on January 7, 2020.
              11          186.    According to the declaration, on September 2019, Mr.           overheard an
              12 elderly Armstrong class member ask an officer for toilet paper, soap, and a mop in
              13 Building 20 on Facility D. Ex. 46, ¶ 7. After the officers denied him, the class member
              14 walked away and said, “Damn you lazy bastards.” Id. In response, the officers rushed into
              15 his cell and slammed him against his locker and bed as they punched him repeatedly for
              16 about two minutes. Id., ¶ 8. After the assault, the officers left the cell laughing. Id.
              17          PP.                           DPO16, DNH, CCCMS
              18          187.     Attached hereto as Exhibit 47 is a true and correct copy of a declaration
              19 from Armstrong and Coleman class member Lee                     signed on January 29, 2020.
              20 Attached hereto as Exhibit 47a are true and correct copies of excerpts of documents
              21 corroborating Mr.              declaration.
              22          188.    According to the exhibits, on April 23, 2019, in response to a refusal by
              23 Mr.            to accept a cell move due to safety concerns, as many as eight officers,
              24 including Officers            and             and Sergeant A.            assaulted Mr.
              25 while sitting in his wheelchair in Building 13 on Facility C at RJD. Ex. 47, ¶ 8-9. Officers
              26
                   16
              27     Mr.        was designated as DPO at the time of the incident. Exhibit 1a, ¶ 5. He is
                   currently designated as DNM.
              28
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               1 first-pepper sprayed Mr.         in the face, causing him to fall out of his wheelchair. Id.
               2 ¶ 9. Officers then proceeded to punch him in the face, stomp on his chest, and kick him all
               3 over his body. Id. Officer           kicked Mr.        multiple times after he was restrained
               4 in handcuffs and lying on the ground. Id. Officers then dragged Mr.            approximately
               5 200 yards to a holding cage in the Facility C Gym, without his wheelchair or any assistive
               6 devices. Id. ¶ 10. After Mr.         lost consciousness, CDCR took him to an outside
               7 hospital, where he was diagnosed with three broken ribs, a laceration to his lip that
               8 required stitches, loss of consciousness, an acute closed head injury, facial contusions,
               9 abrasions, hematoma, and blunt abdominal trauma. Id. ¶ 12; Ex. 47a, at 1-4. Mr.
              10 was returned to RJD after four days in the hospital and placed in administrative
              11 segregation. Ex. 47, ¶ 13. RJD failed to provide him with a wheelchair for the first three
              12 or four days following his return to the prison. Id.
              13         189.   On May 24, 2019, Plaintiffs’ counsel sent an advocacy letter, a true and
              14 correct copy of which is attached hereto as Exhibit 47b, to Defendants requesting an
              15 investigation into Mr.          allegations. Nearly seven months later, on January 23,
              16 2020, Defendants confirmed in a letter, a true and correct copy of which is attached hereto
              17 as Exhibit 47c, that RJD failed to provide Mr.         with a wheelchair upon his return to
              18 RJD from the outside hospital. Ex. 47c, at 2. Defendants’ letter indicates that the ADA
              19 non-compliance inquiry into the allegation regarding the wheelchair was not initiated for
              20 49 days until July 12, 2019. Id. at 2.
              21         190.   On February 3, 2020, Defendants provided a response, a true and correct
              22 copy of which is attached hereto as Exhibit 47d, to Mr.            other allegations of staff
              23 misconduct. Defendants concluded after an administrative review that Mr.
              24 allegations “were not supported by the evidence” and that Mr.             actions justified the
              25 use of force used by the officers. Ex. 47d, at 3. Defendants did, however, confirm that
              26 during the incident staff punched Mr.         in the face. Id. at 2. Defendants’ response
              27 also minimizes Mr.            injuries, stating that “minimally displaced factures…[are] not
              28 considered to be serious bodily injury (SBI).” Id. This position is at odds with CDCR
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               1 policy, which explicitly defines serious bodily injury to include bone fractures regardless
               2 of the degree of displacement. See Department Operations Manual § 51020.4.
               3         191.   Documents produced by Defendants, true and correct copies of which are
               4 attached hereto as Exhibit 47e, show that Mr.            cellmate provided an eye witness
               5 account of the incident that was consistent with Mr.           statement of events. See Ex.
               6 47e, at DOJ000001370. Mr.             and his cellmate would not have had any opportunity
               7 to confer regarding the incident, as Mr.        was in the hospital and then in
               8 administrative segregation, and Mr.          emained in his same cell for the period of time
               9 between the date of the incident and the date Mr.            cellmate provided a statement.
              10 Id. at DOJ000001369. RJD’s warden identified that “the injuries that Inmate             claims
              11 he sustained due to the Use of Force utilized in the incident are not consistent with the
              12 officers’ [sic] [incident reports], the force reported and the CDCR 7219 submitted with the
              13 Incident Package.” Id. at DOJ000001364.
              14         QQ.                                  DPW, EOP, 58 years old
              15         192.   Attached hereto as Exhibit 48 is a true and correct copy of a declaration
              16 from Armstrong and Coleman class member                           signed on January 6, 2020.
              17         193.   According to the declaration, on or around November 5, 2018, Mr.
              18 observed staff assault a Coleman class member in mental health crisis outside of Building
              19 1 on Facility A. Ex. 48, ¶¶ 9-13. One officer – Officer 1 – charged at and tackled the man
              20 before two other officers piled on. Id., ¶ 12. Officer 1 then began kicking the man in his
              21 face and ribs about six or seven times while screaming at the man, “You’re a bitch, yeah,
              22 you motherfucker.” Id., ¶ 13. Other officers had to physically restrain Officer 1. Id.
              23 When the victim returned to Facility A, he had bruises all over his face. Id., ¶ 14
              24         194.   Mr.            also observed Officer           instruct incarcerated people
              25 who worked for him to assault other incarcerated people. Id., ¶¶ 16-17. Prior to these
              26 incidents, Mr.            observed Officer            give extra privileges to the people
              27 working for him, including additional food and allowing them to violate prison rules
              28 without facing punishment. Id., ¶ 20.
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               1         RR.                                 DPM, EOP, 55 years old
               2         195.   Attached hereto as Exhibit 49 is a true and correct copy of a declaration
               3 from Armstrong and Coleman class member                          signed on January 26, 2020.
               4 Attached hereto as Exhibit 49a are true and correct copies of excerpts of documents
               5 corroborating Mr.                declaration.
               6         196.   According to the exhibits, after a ten hour transfer to RJD where he was not
               7 allowed to urinate, in the early morning of February 15, 2019, Mr.              told medical
               8 staff that he wanted to see a mental health clinician because he was feeling depressed and
               9 anxious. Ex. 49, ¶ 9. In response, Sergeants                       and           took him
              10 from his holding cell and escorted him to a blind-spot in the central plaza, where they
              11 threw him out of his walker onto the ground and told him, “There’s your fucking clinician,
              12 now kill yourself.” Id., ¶¶ 9-11. The sergeants then picked Mr.              up, slammed
              13 him into a golf-cart, and transported him to Building 2 on Facility A. Id., ¶¶ 11-12. A
              14 number of officers and sergeants, about eight total, then dragged Mr.              into the
              15 sally-port of Building 2. Id., ¶ 12. There, Sergeant             Sergeant            and
              16 Officer            kicked, punched, and stomped on Mr.               as the tower officer
              17 yelled, “Get that motherfucker!” over the PA system. Id.
              18         197.   After being escorted to the TTA, medical staff documented some of his
              19 injuries but told him that some of his bruises were “just because [he is] old.” Id., ¶ 14; Ex.
              20 49a, at 1. Mr.             became suicidal as a result of the assault, and was then transferred
              21 to administrative segregation because no MHCBs were available. Ex. 49, ¶ 15. There,
              22 Mr.              spoke with a clinician about the assault. Id., ¶ 15; Ex. 49a, at 3. Two days
              23 later, Mr.            stated on a second 7219 that he had been assaulted by sergeants in the
              24 central plaza and in Building 2. Ex. 49, ¶ 19; Ex. 49a, at 5.
              25         198.   In March or April 2019, Mr.              witnessed staff members in the ASU
              26 rush into the cell of a Coleman class member. Ex. 49, ¶ 23. Mr.               then heard the
              27 person screaming, as well as things slamming against the walls, which led him to believe
              28
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               1 that the officers were assaulting the class member. Id. When the class member returned to
               2 Building 6 a few days later, he was wearing a cast on his arm. Id.
               3         199.    Mr.            also observed Officer            abuse a person in Building 6
               4 over a two week period in 2019. Id., ¶ 24. Nearly every day, Officer                would leave
               5 a particular incarcerated person cuffed in a holding cage for the entirety of his shift. Id.
               6 The incarcerated person often urinated on himself, leaving a puddle of urine in the cage at
               7 the end of the shift. Id.
               8         SS.                                  DPW, ICF17, 55 years old
               9         200.    Attached hereto as Exhibit 50 is a true and correct copy of a declaration
              10 from Armstrong and Coleman class member                             signed on January 1, 2020.
              11 Attached hereto as Exhibit 50a are true and correct copies of excerpts of documents
              12 corroborating Mr.               declaration. Attached hereto as Exhibit 50c is a true and
              13 correct copy of a note from Mr.                medical file.
              14         201.    According to the exhibits, on May 7, 2018, during a dispute regarding
              15 bagged lunch, Officer          grabbed Mr.              wheelchair and tipped it over,
              16 throwing Mr.             to the ground. Ex. 50, ¶ 9. Officer           cuffed Mr.           and
              17 then sat on Mr.             who was motionless on the ground because he is paralyzed. Id.,
              18 ¶ 10. Officer           then yanked Mr.             by his hair and, pulling him up by his
              19 jacket collar, and placed him in his wheelchair. Id., ¶ 11. Officer              took
              20 Mr.             to the gym where he pulled Mr.                 t-shirt over his head and then
              21 started to punch him in the torso, face, and stomach as he called Mr.               a “faggot”
              22 and a “piece of shit.” Id., ¶ 13. Officers        and              joined in at some point and
              23 used so much force against Mr.               that he thought they were going to kill him. Id.,
              24 ¶ 15. The assault was witnessed in part by class member declarant                           See
              25 Ex. 29, ¶ 17 & Ex. A, at 6-7.
              26   17
                   At the time of the incidents described in his declaration, Mr.           was in the EOP
              27 program.   He is now  housed in an inpatient, intermediate care facility for mental health
                 reasons.
              28
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               1         202.   After the incident, Mr.           was thrown into a holding cage without his
               2 wheelchair and stripped naked. Ex. 50, ¶ 17. For the next three and a half hours, he was
               3 left without any medical attention. Id., ¶ 18. Because Officers         and              were
               4 standing right there when medical staff did arrive, Mr.            stated that nothing
               5 happened. Id. Mr.              was ultimately charged with battery on a peace officer for
               6 allegedly throwing a bag lunch at Officer          and 365 days were added to his sentence.
               7 Id., ¶ 23. In the days following the incident, Mr.           told medical staff that he had
               8 been assaulted, and his injuries were documented. Exhibit 50a, at 1-5.
               9         203.   Mr.             mental health deteriorated after the assault and its
              10 consequences, leading to a May 14, 2019 suicide attempt and placement in an inpatient
              11 psychiatric program for subsequent weeks. Id., ¶ 24; Ex. 50c. While waiting to be
              12 transported to the hospital after cutting his wrists, Mr.          told a clinician, “I just
              13 want to go to sleep, I just want to die.… I got beat up by officers on the yard, look at my
              14 bruises…. I can’t do it anymore.” Id.
              15         204.   Plaintiffs reported on Mr.             allegations in their Armstrong March
              16 2019 Monitoring Tour Report. Ex. 73, at 3. Defendants’ response indicated that
              17 Mr.              allegations were not confirmed but did not provide any explanation for this
              18 determination. Ex. 73, at 4.
              19         205.   Documents produced by Defendants, true and correct copies of which are
              20 attached hereto as Exhibit 50b, include an 1824 dated May 22, 2018 reporting that Officer
              21        had thrown Mr.             from his wheelchair on May 7, 2018 and then took his
              22 wheelchair gloves and seat cushion. Ex. 50b, at 5. Defendants opened a non-compliance
              23 inquiry regarding the DME-related allegation and concluded it could not be confirmed.
              24 Id., Ex. 50b, at 1-3. No inquiry was conducted into Mr.                allegation that Officer
              25        flipped him out of his wheelchair. Id. Months later, a review of how RJD staff
              26 handled his 1824 completed by the Non-Compliance Review Committee found no areas of
              27 concern even though the central allegation – that he was thrown from his wheelchair by
              28 Officer        – was never addressed. Ex. 50b, at 7.
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               1         206.    Mr.          also witnessed events relevant to the staff assault that
               2 contributed to the death of Coleman class member                       in November 2018. Ex.
               3 50, ¶¶ 26-27. The circumstances surrounding Mr.                   death is discussed at
               4 Paragraphs 10-11, supra.
               5         207.    In April 2018, Mr.             witnessed staff push a person, Mr.             up
               6 against the wall so hard that it appeared that they broke his jaw. Ex. 50, ¶ 28. The next
               7 day, Mr.          was attacked by a group of prisoners. Id.
               8         208.    In July 2018, Mr.          witnessed Officer            shoot a person known as
               9 “         in the face following an attack on        by two incarcerated people. Id., ¶ 29. The
              10 day before, Mr.             saw one of           assailants talking to Officer          Id. He
              11 heard Officer          say something to the effect of, “Just stay out of the way so I don’t hit
              12 you.” Id.
              13         TT.                                      DPW18, EOP, 41 years old
              14         209.    Attached hereto as Exhibit 51 is a true and correct copy of a declaration
              15 from transgender Armstrong and Coleman class member                                 signed on
              16 January 7, 2020. Attached hereto as Exhibit 51a are true and correct excerpts of copies of
              17 documents corroborating Ms.              declaration.
              18         210.    According to the exhibits, on February 4, 2019, Ms.              approached
              19 Officer          to ask to speak with a mental health clinician because she was having safety
              20 concerns. Ex. 51, ¶ 9. Officer           responded, “I don’t give a damn. Go handle your
              21 business.” Id. Ms.           continued to decompensate due to her safety concerns, resulting
              22 in her slicing her arm deeply from her hand to her inner elbow. Id., ¶ 11. Ms.
              23 laceration required 31 stitches. Id., ¶ 12; Ex. 51a, at 1-2.
              24         211.    After Ms.        filed a 602 against Officer           he told her, “Am I
              25 supposed to give a fuck if you kill yourself? If you didn’t already have a razor, I would
              26
                   18
              27    At the time of the incidents described in her declaration, Ms.           was designated
                   DPO.
              28
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               1 have given you one to kill yourself.” Ex. 51, ¶ 15. On February 20, 2019, Officer
               2 denied Ms.              toilet paper in spite of her incontinence. Id., ¶ 16. On February 23,
               3 2019, a friend told Ms.             that Officer        was attempting to contract with
               4 incarcerated people to have Ms.              assaulted. Id., ¶ 19. Ms.          also spoke about
               5 her fear of Officer              ongoing misconduct with class member declarant
               6                 See Ex. 49, ¶ 25.
               7          212.     Ms.         also witnessed events relevant to the staff assault that contributed
               8 to the death of Coleman class member                        in November 2018. Id., ¶¶ 24-26.
               9 The circumstances surrounding Mr.                   death is discussed at Paragraphs 10-11,
              10 supra.
              11          213.     On June 28, 2019, Plaintiffs’ counsel sent a letter to Defendants, a true and
              12 correct copy of which is attached hereto as Exhibit 51b, requesting an investigation into
              13 the February 4, 2019 incident and any subsequent retaliation faced by Ms.                 On
              14 January 9, 2020, Defendants sent a letter, a true and correct copy of which is attached
              15 hereto as Exhibit 51c (extraneous Attachments to letter omitted), indicating that
              16 Defendants “cannot confirm that any of these allegations occurred.” Exhibit 51c, at 2.
              17          214.     Documents produced by Defendants, true and correct copies of which are
              18 attached hereto as Exhibit 51d, indicate that two incarcerated people were interviewed as
              19 witnesses during the inquiry into Ms.               February 4, 2019 allegation. Ex. 51d, at
              20 DOJ00003685. These documents do not address allegations from Plaintiffs’ letter that
              21 Officer            used disrespectful and demeaning language after learning that she filed a
              22 602; that Officer             denied her toilet paper; and that Officer         was attempting to
              23 pay other people to have Ms.              assaulted. Id., DOJ00003685-3689.
              24          UU.                               DPO, 57 years old
              25          215.     Attached hereto as Exhibit 52 is a true and correct copy of a declaration
              26 from Armstrong class member                        signed on January 7, 2020.
              27          216.     According to the declaration, on November 2019, Mr.             witnessed
              28 officers in Facility A dining hall assault a transgender prisoner, Ms.                (nicknamed
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               1 “Addicted”). Ex. 52, ¶ 8. The officers threw her to the ground, jumped on her, kneed her
               2 and roughed her up for about five minutes because she refused to tuck her shirt in. Id.
               3 Coleman class member declarant Donovan             also witnessed the assault on
               4 Ms.              See Ex. 34, ¶ 15.
               5         217.   Sometime in mid-2019, Mr.          witnessed an officer grab Mr.          an
               6 elderly incarcerated person housed in Building 9, and throw him violently to the ground
               7 after Mr.        had cursed at him. Id., ¶ 9.
               8         218.   Mr.       witnessed other types of staff misconduct on Facility B, including:
               9 apparent extortion of incarcerated people by officers; officers claiming publicly that
              10 certain incarcerated people are child molesters, placing them at great risk of assault; and
              11 staff allowing fights to occur between incarcerated persons. Id., ¶¶ 10-12.
              12         VV.                               DPW, 76 years old
              13         219.   Attached hereto as Exhibit 53 is a true and correct copy of a declaration
              14 from Armstrong class member                     signed on January 7, 2020.
              15         220.   According to the declaration, on December 19, 2016, Officer
              16 conducted a search of Mr.              cell whereby he destroyed property and then left the
              17 property, including a mattress, strewn across the cell floor. Ex. 53, ¶¶ 6, 8. Mr.             a
              18 full-time wheelchair user, was trapped in his cell and unable to move his wheelchair
              19 because property was covering the floor. Id. For the next three days, Mr.              was
              20 forced to sleep on the floor because he could not move his mattress onto his bed due to his
              21 disability. Id., ¶¶ 9-14. During that time, staff refused to provide him with any assistance
              22 in restoring his cell to a wheelchair-accessible condition. Id. After Mr.            filed a
              23 602 staff misconduct appeal against Officer            Officer         again trashed
              24 Mr.             cell. Id., ¶ 16.
              25         221.   In February or March 2019, Mr.            witnessed five to seven officers
              26 brutally beat an incarcerated person on the Facility B yard. Id., ¶ 19. The officers used
              27 pepper spray and batons to assault the person as he lay on the ground and not resisting. Id.
              28
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               1 When the person returned to RJD a few days later, his face was bruised, his eye socket was
               2 broken, and he had multiple stitches in his right eyebrow and lips. Id., ¶ 20.
               3         222.    In early 2018, Mr.           witnessed an officer in the Facility B dining hall
               4 assault and pepper spray a person for no apparent reason. Id., ¶ 23.
               5         WW.                                    CCCMS, 30 years old
               6         223.    Attached hereto as Exhibit 54 is a true and correct copy of a declaration
               7 from Coleman class member                           signed on January 7, 2020.
               8         224.    According to the declaration, on or around April 24, 2019, Mr.
               9 witnessed events relevant to the staff assault on                      in Building 2 on
              10 Facility A. Ex. 54, ¶¶ 5-19. The incident involving Mr.                is discussed at
              11 Paragraphs 238-242, infra.
              12         225.    On or around November 18, 2018, Mr.                witnessed staff assault
              13        in Building 2 on Facility A. Ex. 54, ¶¶ 20-22. The incident involving Mr.             is
              14 discussed at Paragraph 78, supra.
              15         226.    In June 2019, Mr.            witnessed Officers        and         respond to
              16 an ongoing fight involving                  and another incarcerated person. Ex. 54, ¶ 23.
              17 Officers        and         were striking Mr.         with their batons even after Mr.
              18 had gotten down on the ground in compliance with their orders. Id. Officer                hit
              19 Mr.        in the head with so much force that his baton broke on impact. Id.
              20         227.    On May 21, 2016, Mr.              observed an ongoing fight on the yard of
              21 Facility A. Id., ¶ 24. After the alarm was sounded – and while Mr.                was on the
              22 ground and fully compliant – Officer           began striking him forcefully with a baton. Id.,
              23 ¶ 26. Officer         only stopped when another officer intervened. Id. Mr.
              24 believes that Officer        took that opportunity to strike him during an incident on the
              25 yard, even though Mr.               was not involved in the incident, because he had filed a
              26 602 staff misconduct grievance against Officer             Id., ¶¶ 29-30.
              27
              28
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               1         XX.                                      DPM, CCCMS, 70 years old
               2         228.    Attached hereto as Exhibit 55 is a true and correct copy of a declaration
               3 from Armstrong and Coleman class member                               signed on January 7, 2020.
               4         229.    According to the declaration, on December 8, 2019, Mr.                   waved at
               5 the tower officer to open his cell door in Building 20. Ex. 55, ¶ 7. Before Mr.
               6 who uses a walker, had time to enter his cell, the door started to close on him. Id. He
               7 yelled at the tower that he needed more time but got no response. Id. The door closed on
               8 Mr.              causing him to fall against the wall, injuring his arm and shoulder. Id.
               9         230.    Mr.             had his cell door closed on him in Building 20 on other
              10 occasions, including one in 2018 in which he suffered cuts and bleeding when the door
              11 closed on his hand. Id., ¶ 9.
              12         231.    On December 9, 2019, Mr.                 also witnessed staff misconduct against
              13 Armstrong class member                        discussed in Paragraph 57 supra. Ex. 55, ¶ 10.
              14         YY.                                                CCCMS, 31 years old
              15         232.    Attached hereto as Exhibit 56 is a true and correct copy of a declaration
              16 from transgender Coleman class member                        signed on January 8, 2020.
              17 Attached hereto as Exhibit 56a are true and correct copies of excerpts of documents
              18 corroborating Ms.              declaration.
              19         233.    According to the exhibits, on October 2, 2018, Officer            ordered
              20 Ms.           to submit to a “random pat-down” in Building 9 on Facility B. Ex. 56, ¶ 7.
              21 When Ms.              protested the forcefulness of the pat down, Officer         told her that he
              22 was going to conduct a strip search in the sally-port. Id. In the sally-port, Officer
              23 started aggressively shaking and twisting Ms.                body before he lifted her up and
              24 threw her against the ground. Id., ¶ 8. Ms.             heard her leg snap on impact. Id.
              25 Officer         then told his partner, Officer           to “Call in for a staff assault!” Id. ¶ 9.
              26 Once other staff arrived, a sergeant ordered Officer                to cuff Ms.         by the legs
              27 despite her injury. Id. Officer                proceeded to apply leg cuffs to Ms.
              28 visibly fractured leg as Ms.           screamed in pain. Id.
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               1         234.   Staff then forced her to walk to the ambulance and at the ambulance, refused
               2 to help her climb in. Id., ¶ 10. After being transferred to an outside hospital, Ms.
               3 was diagnosed with fractures in both the tibia and fibula of her left leg, necessitating the
               4 surgical installation of a plate and several screws. Id., ¶¶ 11-12; Ex. 56a, at 1-4. For
               5 nearly three months after the incident, Ms.          was housed in the Correctional
               6 Treatment Center (“CTC”). Ex. 56a, at 6-7. Ms.                was found guilty of an RVR for
               7 battery on a peace officer following this incident. Ex. 56, ¶ 10. The assault exacerbated
               8 Ms.            existing mental illness. Id., ¶ 17; Ex. 56a, at 9. Ms.          received physical
               9 therapy for her leg through November 2019. Ex. 56a, at 11.
              10         235.   In November 2019, Ms.            was told that Officer              granted two
              11 people permission to assault her, telling them, “Do it. I don’t like           anyway.” Ex. 56,
              12 ¶ 18. Two days later, two incarcerated people assaulted Ms.              on the dayroom floor
              13 of Building 12 while Officer          and Officer               watched. Id.
              14         236.   In June or July 2019, Ms.          saw officers assault an older incarcerated
              15 Coleman class member who refused to enter his cell. Id., ¶ 19. Officer                and
              16 another officer slammed the class member into the ground and beat him with closed fists
              17 and batons for about three to four minutes. Id.
              18         ZZ.                                    DLT, DNH, EOP, 64 years old
              19         237.   Attached hereto as Exhibit 57 is a true and correct copy of a declaration
              20 from Armstrong and Coleman class member                              signed on January 7, 2020.
              21 Attached hereto as Exhibit 57a are true and correct copies of excerpts of documents
              22 corroborating Mr.               declaration.
              23         238.   According to the exhibits and declarations from multiple other incarcerated
              24 people, on April 24, 2019, at around 5:00 p.m., Mr.               was assaulted in the sally-
              25 port of Building 2 by Officers          A.              and         who broke his arm and
              26 jaw. Ex. 57, ¶pp 8, 10. Prior to the assault, Officer             the control tower officer, kept
              27 Mr.            locked in his cell in Building 2 while he released all other incarcerated
              28 people for dinner and ensured that no incarcerated people remained in the dayroom. Id.,
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               1 ¶ 7; Ex. 11, ¶ 30; Ex. 16, ¶ 6; Ex. 23, ¶ 23; Ex. 24, ¶¶ 7-11; Ex. 54, ¶¶ 5-6. Officer
               2           then released Mr.              Id. When Mr.              passed through one of the
               3 sallyport gates, Officer            closed the gate behind Mr.              Id., ¶ 8. Officers
               4          A.            and          then rushed into the sally-port, trapping Mr.
               5 between them and the gate. Id., ¶ 8; Ex. 24, ¶¶ 12-13; Ex. 54, ¶¶ 7-8. Officer
               6 threatened Mr.               telling him, “I’m gonna kick your ass,” as the officers closed in
               7 on him. Id. When Officer             attempted to assume a fighting position but inadvertently
               8 slipped, the two other officers started kicking Mr.              in the chest, throwing him to
               9 the ground. Id. Once Officer             stood up, he began punching Mr.              in the face
              10 as Officer            stomped on him. Id. During the assault, Officer                watched
              11 but failed to intervene, and Officer            was seen by Mr.             filming the incident
              12 on a cell phone from the control tower. Id., ¶ 9.
              13         239.   At no point did Mr.             receive an RVR or any other form of discipline
              14 in connection with the incident. Id., ¶ 12; Ex. 57a, at 1. At no time during the assault did
              15 staff use their radios to call for assistance nor their personal alarm devices. Ex. 57, ¶ 12.
              16         240.   Mr.             who was bleeding and had a broken arm, requested medical
              17 help from Nurse              who refused stating that Officer            and another officer had
              18 instructed her to deny Mr.             a medical pass. Id. ¶ 15.
              19         241.   At around 7:00 p.m., when the building opened up for evening dayroom,
              20 Nurse            again refused Mr.             medical attention. Id., ¶ 17. When
              21 Mr.            asked Officer              Officer           stated to him, “You shouldn’t have
              22 been talking shit” and “nothing happened, so you don’t need medical care.” Id., ¶ 18. In
              23 response to other incarcerated people such as declarants
              24 and                      attempting to help Mr.            obtain medical treatment, Officer
              25            ordered Mr.             into his cell claiming that he was inciting a riot. Id.; Ex.
              26 11, ¶¶ 31-34; Ex. 16, ¶¶ 10-14; Ex. 54, ¶¶ 9-16; Ex. 57, ¶ 12. At around 8:30 p.m., Officer
              27          told Mr.            he was supposed to take him to the TTA but Mr.                denied
              28
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               1 out of fear that Officer         would assault him as a result of prior negative experiences
               2 with this officer. Id., ¶ 20; Ex. 57a, at 3.
               3         242.    Finally, at around 1:00 a.m. on April 25, 2019, about eight hours after the
               4 incident itself, a nurse escorted him to the TTA, where medical staff treated and
               5 documented his injuries. Ex. 57, ¶ 21; Ex. 57a, at 6-9. Later, he reported the incident to
               6 his mental health clinician. Ex. 57, ¶ 22; Ex. 57a, at 10. In the ensuing weeks,
               7 Mr.             was diagnosed with a broken arm and a broken jaw. Ex. 57, ¶ 21; Ex. 57a, at
               8 12-16. As of his most recent orthopedic consultation in October 2019, nearly six months
               9 after the incident, Mr.             arm is “slowly” healing with a visible fracture line still
              10 faintly visible. Ex. 57, ¶ 24; Ex. 57a, at 18-19. In addition, Mr.              mental illness
              11 has worsened as a result of this incident. Ex. 57, ¶ 24; Ex. 57a, at 21.
              12         243.    On May 31, 2019, Plaintiffs’ counsel sent an advocacy letter, a true and
              13 correct copy of which is attached hereto as Exhibit 57b, to Defendants requesting an
              14 investigation into Mr.              allegations. On July 12, 2019, Plaintiffs’ counsel sent a
              15 supplemental letter, a true and correct copy of which is attached hereto as Exhibit 57c,
              16 providing additional information and witnesses relevant to the allegation. Nearly seven
              17 months later, on December 30, 2019, Defendants provided a status update letter, a true and
              18 correct copy of which is attached hereto as Exhibit 57d, indicating that an inquiry into the
              19 allegations was completed after the receipt of Plaintiffs’ May 31, 2019 letter but before
              20 receipt of Plaintiffs’ July 12, 2019 letter. The inquiry resulted in a July 17, 2019 referral to
              21 the OIA, which opened an official investigation on August 14, 2019. Ex. 57d, at 1.
              22         AAA.                              DPM, EOP, 63 years old
              23         244.    Attached hereto as Exhibit 58 is a true and correct copy of a declaration
              24 from Armstrong and Coleman class member                        signed on December 16, 2019.
              25 Attached hereto as Exhibit 58a are true and correct excerpts of copies of documents
              26 corroborating Mr.             declaration.
              27         245.    According to the exhibits, on July 6, 2018, Mr.          was forcefully
              28 searched by an officer outside of the Facility C dining hall after Mr.          asked the
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               1 officer if he could refill the Kool-Aid. Ex. 58, ¶ 12. During the search, the officer grabbed
               2 Mr.             walker and threw it several feet away, and then grabbed and broke his
               3 glasses. Id.; Ex. 58a, at 1-2. The officer then removed Mr.               shoes, shirt, and
               4 pants, forcing him to walk back to his housing unit in only a shirt and underwear. Ex. 58,
               5 ¶ 13. Mr.             experienced mental health decompensation after this incident, including
               6 suicidal ideation. Id., ¶ 14. After speaking with his clinician about the incident,
               7 Mr.            was placed in a mental health crisis bed. Id.; Ex. 58a, at 4.
               8         246.    Mr.          witnessed Officer         and another officer in Building 14 drag
               9 a transgender person back to her cell after she reported feeling suicidal. Ex. 58, ¶ 16.
              10 Later that day, the person was yelling that she had cut herself, but staff ignored her. Id.
              11 The next morning, officers escorted the person, whose wrists were bandaged, out of the
              12 unit. Id.
              13         247.    In the first half of 2018, Mr.        frequently saw Officers          and
              14             allow incarcerated people to fight while they stood by and watched. Id., ¶ 17.
              15 II.     ANALYSIS OF DECLARATIONS
              16         248.    I reviewed all fifty-four declarations to determine the number of staff
              17 misconduct incidents the declarants described. For purposes of counting the incidents of
              18 staff misconduct, I considered a continuing course of misconduct to count as one incident
              19 of misconduct. For example, if a class member was assaulted by staff and then subjected
              20 to retaliation for filing a staff complaint about the assault, I counted those events as only
              21 one staff misconduct incident. This methodology is conservative. CDCR policy would
              22 treat the above example as involving at least two separate instances of misconduct for
              23 which an employee could face discipline. Using this conservative methodology, I
              24 determined that the class member declarations describe well over one hundred discrete
              25 incidents of staff misconduct.
              26         249.    I reviewed each declarations and created a tally of every incident described
              27 in the declarations as well as the names of officers involved in each incident. I determined
              28 that the declarations describe by name eighty-nine unique officers involved in misconduct.
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               1         250.    In my review, I determined that the declarations also included information
               2 about dozens of officers who perpetrated staff misconduct against class members but for
               3 whom the declarants did not know the names of the officers. For that reason, the number
               4 of officers involved in misconduct against class members at RJD likely exceeds eightynine
               5 by a great deal.
               6         251.    I also made a list of the officers who the declarants identified by name as
               7 being involved in misconduct, as well as the number of staff misconduct incidents in
               8 which each named officer was involved. In compiling this information, I only included
               9 officers who engaged in acts or omissions that resulted in harm to an incarcerated person.
              10 I did not include officers who were bystanders to incidents of excessive and/or
              11 unnecessary uses of force. I also made sure that each incident associated with an officer
              12 was unique to avoid double-counting in cases where multiple declarations described the
              13 same incident.
              14         252.    For purposes of counting the incidents in which officers were involved, I
              15 considered the following names to refer to the same staff member: I treated “
              16 “           and “           as        “           and “      as          “           and
              17 “              as             and “       and “            as        I considered those
              18 differently-spelled names to refer to the same people based on my experience monitoring
              19 RJD, my knowledge of the officers involved in misconduct at RJD, and information about
              20 state employee salaries available on transparentcalifornia.com.
              21         253.    Through this analysis, I determined that thirty-nine officers were identified
              22 as having participated in more than one incident of staff misconduct. The following
              23 officers were involved in the number of incidents indicated in parentheses:
              24                     (9)
              25                            (8)
              26                      (8)
              27                       (8)
              28                       (6)
                                                              58                          Case No. C94 2307 CW
                   DECL. OF M. FREEDMAN ISO MOTION TO STOP DEFS. FROM ASSAULTING, ABUSING & RETALIATING
[3496005.3]                      AGAINST PEOPLE W/ DISABILITIES AT R.J. DONOVAN CORR. FACILITY
               1                     (5)
               2                     (5)
               3                      (5)
               4                     (5)
               5                           (4)
               6                      (4)
               7                           (4)
               8                      (4)
               9                      (4)
              10                      (3)
              11                      (3)
              12                           (3)
              13                       (3)
              14                     (3)
              15                    (3)
              16                      (2)
              17                      (2)
              18                      (2)
              19                      (2)
              20                          (2)
              21                             (2)
              22                       (2)
              23                     (2)
              24                       (2)
              25                     (2)
              26                       (2)
              27                      (2)
              28                     (2)
                                                              59                          Case No. C94 2307 CW
                   DECL. OF M. FREEDMAN ISO MOTION TO STOP DEFS. FROM ASSAULTING, ABUSING & RETALIATING
[3496005.3]                      AGAINST PEOPLE W/ DISABILITIES AT R.J. DONOVAN CORR. FACILITY
               1                      (2)
               2                         (2)
               3                            (2)
               4                        (2)
               5                            (2)
               6                              (2).
               7          254.   In my review, I also determined that the declarations included information
               8 about dozens of officers who witnessed staff misconduct against class members but to our
               9 knowledge failed to intervene during the event or report on the misconduct after the fact.
              10 Many of these staff members were unnamed. Due to the public nature of most of the
              11 events described in the declarations, it is likely that hundreds of staff members at RJD
              12 witnessed staff misconduct but failed to intervene or report the misconduct.
              13 III.     OTHER ADVOCACY LETTERS SENT TO DEFENDANTS
              14          255.   Plaintiffs’ counsel sent a number of advocacy letters to Defendants in
              15 Armstrong and Coleman regarding staff misconduct at the RJD that are not discussed
              16 above.
              17          A.     Unknown EOP Person
              18          256.   On November 14, 2017, Plaintiffs’ counsel sent an advocacy letter to
              19 Defendants, a true and correct copy of which is attached hereto as Exhibit 59, requesting
              20 an investigation into allegations of staff misconduct in Building 15, a housing unit for
              21 incarcerated people with serious mental illness. Class member declarant
              22 reported to Plaintiffs’ counsel that, sometime in the early part of 2017, after a verbal
              23 altercation, Sergeant                dragged a person (name unknown) by his feet down a flight
              24 of stairs, banging the person’s head on the steps along the way. Ex. 59, at 1. Multiple
              25 class members reported witnessing this incident, but only Mr.               was comfortable
              26 reporting the allegation. Id. Defendants have not responded to the allegations contained in
              27 Plaintiffs’ November 14, 2017 letter.
              28
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               1         B.                             DPM
                                                        old;
               2
               3         257.    On March 2, 2018, Plaintiffs’ counsel sent an advocacy letter to Defendants,
               4 a true and correct copy of which is attached hereto as Exhibit 60 (exhibits to letter
               5 omitted), requesting an investigation into allegations of staff misconduct made by
               6 Armstrong and Coleman class members                       and                  and Coleman class
               7 member                     during a July 14, 2017 incident in Building 14 on Facility C. In
               8 the letter, Plaintiffs’ counsel alleged that Officer                 Officer         and Officer
               9          used excessive and unnecessary force against Mr.             , Mr.        and
              10 Mr.             to prevent them from reporting the excessive use of force against another
              11 incarcerated person. Ex. 60, at 2-4. Defendants have not yet responded to Plaintiffs’
              12 July 14, 2017 letter.
              13         C.                                 DPO, 65 years old
              14         258.    On March 14, 2018, Plaintiffs’ counsel sent an advocacy letter to
              15 Defendants, a true and correct copy of which is attached hereto as Exhibit 61 (exhibits to
              16 letter omitted), requesting an investigation into a December 6, 2017 incident involving
              17 Armstrong class member                       who used a wheelchair intermittently at the time.
              18 In the letter, Plaintiffs’ counsel alleged that Officer           forced Mr.          to stand
              19 without any assistive devices during a body search conducted in an occupied dayroom.
              20 Ex. 61, at 1. Plaintiffs’ also alleged that Officer             pulled Mr.          pants down
              21 during the search. Id. Following the search, Mr.                was reportedly made to walk
              22 without assistance to collect his wheelchair and cane. Id. On June 12, 2018, Defendants
              23 sent a responsive letter, a true and correct copy of which is attached hereto as Exhibit 61a
              24 (Attachments to letter omitted), indicating that Mr.               allegations had been
              25 reviewed according to the Armstrong accountability protocol, which found that no
              26 violation of CDCR policy had occurred. Ex. 61a, at 1. Documents produced by
              27 Defendants in the course of this litigation, true and correct copies of which are attached
              28 hereto as Exhibit 61b, show that at least one of the witnesses interviewed during inquiry,
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               1 Mr.                fully corroborated Mr.             version of the events. Ex. 61b, at
               2 DOJ00000158-59. CDCR refused to produce the confidential inquiry into Mr.
               3 staff complaint against Officer              Ex. 61a, at 1.
               4         D.                     (“Elderly ADA Inmate”),               DPM, 56 years old
               5         259.     On February 6, 2019, Plaintiffs’ counsel sent an advocacy letter to
               6 Defendants, a true and correct copy of which is attached hereto as Exhibit 62 (exhibits to
               7 letter omitted), requesting an investigation into an alleged incident involving an “elderly
               8 ADA inmate,” later identified as Armstrong class member                       On January 20,
               9 2019, after a verbal altercation, Officer               denied Mr.           who was on a
              10 hunger strike at the time, access to the medical clinic. Ex. 62, at 1. The next morning, at
              11 around 7:00 a.m., witnesses observed Officer                  push Mr.          up against the
              12 fence before knocking him in the torso and sending him to the ground. Id. Officer
              13                then proceeded to jump on Mr.             back. Id. Multiple staff members then
              14 converged on the scene, and began assaulting Mr.               before securing him in handcuffs
              15 and escorting him to the medical clinic. Id. In response to Mr.              collapsing while
              16 being escorted, Officer          kicked him in the ribs, causing him to scream and collapse
              17 once more. Sergeant             reportedly encouraged the attacks on Mr.             Id. at 3.
              18 After the incident, Officers                and       and Sergeant           were observed
              19 laughing and fist-bumping one another, as well as saying, “Yeah, anyone else feel like
              20 going on hunger strike?” Id.
              21         260.     The allegations contained in Plaintiffs’ February 6, 2019 letter are consistent
              22 with statements in Mr.                declaration about the assault of Mr.           Ex. 29,
              23 ¶ 29 & Ex. A, at 21.
              24         261.     On November 1, 2019, Defendants sent a responsive letter, a true and correct
              25 copy of which is attached hereto as Exhibit 62a, indicating that a “thorough inquiry had
              26 already been completed” and the matter had been referred to OIA for an administrative
              27 investigation. Kimberly Seibel, CDCR’s person most knowledgeable, testified that Officer
              28                Officer        and Officer         were terminated due to their involvement in
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               1 the incident involving Mr.            Ex. 83, at 67:16-18. She further testified that video
               2 surveillance was used to determine that the officers’ reports of force were inconsistent with
               3 the force actually used and the injuries sustained by Mr.             Id. at 67:1-6. Exhibit 11
               4 to the Deposition of Patricia Ramos, a true and correct copy of which is attached hereto as
               5 Exhibit 62b, is the investigation reports from OIA regarding their investigation into the
               6 incident involving Mr.            The reports indicate that Officer               claimed in his
               7 incident report “that          threw himself on the ground in a forward motion without
               8                   ever making any physical contact with them.” Ex. 62b, at 11.
               9 Investigators who reviewed the video surveillance found that Officer                    “grabbed
              10          by his back and shoulder area, throwing him to the ground [out of his walker].” Id.
              11 at 2. In interviews with investigators, Officer               stated that he used force because
              12 “he was in fear for his life….and deemed [             an imminent threat.” Id. at 10. All three
              13 officers involved in the incident were found by the OIA investigation to have submitted
              14 false reports. Ex. 83, at 69:9-11.
              15         E.                                   DNH, 36 years old
              16         262.   On February 26, 2019, Plaintiffs’ counsel sent an advocacy letter to
              17 Defendants, a true and correct copy of which is attached hereto as Exhibit 63, requesting
              18 an investigation into allegations of staff misconduct raised by Armstrong class member
              19                     who claimed that Officer           retaliated against him for filing a staff
              20 misconduct lawsuit. Attached hereto as Exhibit 63a are true and correct excerpts of
              21 copies of documents related to Mr.                allegations. The letter alleged that, on
              22 December 14, 2018, Officers          and           intentionally slammed the food port on
              23 Mr.             hands in Building 7 after Mr.            had asked them for copies of his legal
              24 mail, resulting in a fracture in his hand. Ex. 63, at 1; Ex. 63a, at 1-3. Before staff
              25 slammed the food port on Mr.               they cited his pending lawsuit against Officer
              26           Ex. 63, at 1. In a second incident, on December 17, 2018, three officers and
              27 Sergeant                uffed and shackled Mr.           in the building sallyport before
              28 returning him to his cell. Id. at 1-2. After cuffing and removing his cell mate, Sergeant
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               1              gestured to the tower officer to close the cell door on Mr.            neck and
               2 chin, causing him to lose feeling and buckle to the ground. Id. at 2. When examined, a
               3 custody officer told medical staff that Mr.             “got down on his hands and knees ant
               4 [sic] put his head in the way and acted like it was struck by door, but never actually made
               5 contact with the object.” Ex. 63a, at 5. This explanation is inconsistent with medical
               6 documentation, which indicates that Mr.               suffered a neck contusion in relation to
               7 this incident. Id. at 8.
               8         263.     On March 15, 2019, Defendants sent a responsive letter, a true and correct
               9 copy of which is attached hereto as Exhibit 63b, indicating that the allegations contained
              10 in Plaintiffs’ February 26, 2019 letter had been forwarded to the Director of the Division of
              11 Adult Institutions. Defendants have not provided any further response to Plaintiffs’
              12 February 26, 2019 letter.
              13         F.                                   DPM, EOP, 62 years old
              14         264.     On February 28, 2019, Plaintiffs’ counsel sent an advocacy letter to
              15 Defendants, a true and correct copy of which is attached hereto as Exhibit 64, requesting
              16 an investigation into allegations of staff misconduct raised by Armstrong class member
              17                    Attached hereto as Exhibit 64a are true and correct excerpts of copies of
              18 documents related to Mr.              allegations. The letter alleged that, on June 25, 2018,
              19 Officers F.                       and H.         assaulted him after he expressed that he was
              20 feeling suicidal and wanted to go to a crisis bed. Ex. 64, at 1. These officers reportedly
              21 threw him to the ground, and then began kicking, kneeing, and stomping on him. Id. After
              22 sounding an alarm, the officers told a psychiatric technician, who had begun administering
              23 first aid on Mr.           to “just leave him.” Id. at 2. Mr.      was then dragged to the gym
              24 and placed in a holding cage, where Officer F.             hit him in the back of his head and
              25 kicked him in his groin. Id. Medical records indicate that Mr.             suffered abrasions,
              26 scratches, and bleeding from his forehead. Ex. 64a, at 1-2. After the incident, Mr.
              27 was admitted to a crisis bed. Id. at 4-6.
              28
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               1         265.    On December 17, 2019, Defendants sent a responsive letter, a true and
               2 correct copy of which is attached hereto as Exhibit 64b, indicating that, after a “thorough
               3 inquiry” had been completed prior to the receipt of Plaintiffs’ letter, Defendants found that
               4 the allegations raised by Mr.        were “not supported by the evidence.” Ex. 64b, at 1-2.
               5 In making that determination, CDCR relied on staff interviews, a contemporaneous 7219,
               6 Mr.            602, and a review conducted by the IERC. Id. Defendants have not produced
               7 any documents underlying their determination that Mr.               allegations were “not
               8 supported by the evidence.”
               9         G.                                  EOP, 66 years old
              10         266.    On March 21, 2019, Plaintiffs’ counsel sent an advocacy letter to
              11 Defendants, a true and correct copy of which is attached hereto as Exhibit 65, requesting
              12 an investigation into allegations of staff misconduct raised by Armstrong class member
              13                     The letter alleged that, on March 21, 2019, Officer       pushed and
              14 prodded Mr.           on his way back to his cell. Ex. 65, at 1. In the doorway, Officer
              15 pushed Mr.           with such force that he fell to the ground, and was unable to get up.
              16         267.    On July 31, 2019, Defendants sent a responsive letter, a true and correct copy
              17 of which is attached hereto as Exhibit 65a, indicating that Mr.             allegations were
              18 not confirmed. Ex. 65a, at 3.
              19         H.                                  EOP, 37 years old
              20         268.    On October 4, 2019, Plaintiffs’ counsel sent an advocacy letter to
              21 Defendants, a true and correct copy of which is attached hereto as Exhibit 66 (exhibits to
              22 letter omitted), requesting an investigation into allegations of staff misconduct raised by
              23 Coleman class member                        True and correct copies of excerpts from
              24 Mr.             medical and custody records are attached hereto as Exhibit 66a.
              25 Contemporaneous medical records indicate that Mr.              suffered injuries on his face
              26 consistent with forceful strikes to his head. Ex. 66a, at 1.
              27         269.    The letter alleged that, on May 11, 2018, Officer          kicked Mr.
              28 twice in the head with extreme force despite the fact that Mr.            was already on the
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               1 ground and compliant with officers’ orders. Ex. 66, at 2. A CDCR staff psychologist,
               2                 , witnessed the incident and wrote that Mr.         was not a threat but that
               3 Officer          nevertheless used “extreme force” in kicking him twice in the head. Ex. 66,
               4 at 3; Ex. 66a, at 6. Mr.         was found guilty of an RVR for assaulting staff. Ex. 66, at
               5 3; Ex. 66a, at 15-30. According to reports attached to the RVR, the supervising Lieutenant
               6 claimed that Mr.             injuries resulted from Officer        slipping on discharged
               7 pepper spray and “str[iking]” Mr.           in the torso. Ex. 66, at 3; Ex. 66a, at 15-30.
               8         270.    On December 26, 2019, Defendants sent a responsive letter, a true and
               9 correct copy of which is attached hereto as Exhibit 66b, indicating that Mr.
              10 allegations were sustained after an investigation completed by OIA on April 5, 2019.
              11 Later representations from CDCR officials testified that Officer           was terminated in
              12 relation this allegation, and CDCR relied on the statement of a “clinician witness” to
              13 support its decision to terminate Officer          Ex. 83, at 66:12-17, 68:1-4. Officer
              14           had been implicated in multiple allegations of staff misconduct, more than one of
              15 which resulted in such allegations being referred by the Hiring Authority to the OIA for an
              16 administrative investigation. Id. at 68:9-15 Notably, despite the multiple allegations
              17 involving Officer           Officer         was not placed on administrative time off at any
              18 point during any inquiry or investigation into such allegations. Id. at 69:22-70:1.
              19 IV.     PLAINTIFFS’ COUNSEL’S MONITORING REPORTS AND
                         DEFENDANTS’ RESPONSES
              20
              21         271.    Attached hereto as Exhibit 67 is a true and correct excerpted copy of
              22 Plaintiffs’ Report regarding the September 2016 Armstrong monitoring tour of RJD, issued
              23 on November 15, 2016.
              24         272.    Attached hereto as Exhibit 68 is a true and correct excerpted copy of
              25 Defendants’ Response to Plaintiffs’ Report regarding the September 2016 Armstrong
              26 monitoring tour of RJD, issued by Defendants on February 17, 2017.
              27
              28
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               1         273.   Attached hereto as Exhibit 69 is a true and correct excerpted copy of
               2 Plaintiffs’ Report regarding the April 2017 Armstrong monitoring tour of RJD, issued on
               3 May 26, 2017.
               4         274.   Attached hereto as Exhibit 70 is a true and correct excerpted copy of
               5 Defendants’ Response to Plaintiffs’ Report regarding the April 2017 Armstrong
               6 monitoring tour of RJD, issued by Defendants on April 17, 2018.
               7         275.   Attached hereto as Exhibit 71 is a true and correct excerpted copy of
               8 Plaintiffs’ Report regarding the October 2017 Armstrong monitoring tour of RJD, issued
               9 on November 14, 2017.
              10         276.   Attached hereto as Exhibit 72 is a true and correct excerpted copy of
              11 Defendants’ Response to Plaintiffs’ Report regarding the October 2017 Armstrong
              12 monitoring tour of RJD, issued by Defendants on August 21, 2018.
              13         277.   Attached hereto as Exhibit 73 is a true and correct excerpted copy of
              14 Plaintiffs’ Report regarding the March 2019 Armstrong monitoring tour of RJD, issued on
              15 May 3, 2019.
              16         278.   Attached hereto as Exhibit 74 is a true and correct excerpted copy of
              17 Defendants’ Response to Plaintiffs’ Report regarding the March 2019 Armstrong
              18 monitoring tour of RJD, issued by Defendants on January 24, 2020.
              19 V.      ANALYSIS OF PRIOR ADVOCACY AND DAI EMPLOYEE NON-
                         COMPLIANCE LOGS
              20
              21         279.   I also reviewed Plaintiffs’ Armstrong monitoring tour reports and advocacy
              22 letters to count the number of discrete misconduct incidents of which Plaintiffs’ counsel
              23 have notified Defendants. I used the same conservative counting method as described
              24 above. I considered a continuing course of misconduct to count as one incident of
              25 misconduct. For example, if a class member was assaulted by staff and then subjected to
              26 retaliation for filing a staff complaint about the assault, I counted those events as only one
              27 staff misconduct incident. Using this methodology, Plaintiffs’ counsel shared with
              28
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               1 Defendants fifty-four discrete allegations of staff misconduct involving Armstrong class
               2 members in tour reports and letters from September 2016 through December 2019.
               3         280.   I have reviewed all DAI Employee Non-Compliance Logs (“Accountability
               4 Logs”) for the months of September 2016 through December 2019, which is the most
               5 recent log produced to Plaintiffs’ counsel by Defendants. True and correct copies of these
               6 logs are attached hereto as Exhibit 75. In that period, CDCR did not log the following
               7 twelve Armstrong-related allegations of staff misconduct raised in Plaintiffs’ counsel’s
               8 advocacy letters and tour reports:
               9               Plaintiffs’ October 23, 2019 advocacy letter alleged that Officer
              10                orchestrated a physical assault on Armstrong class member                      in
              11                retaliation for filing disability-related 602s. Ex. 41b.
              12               Plaintiffs’ July 12, 2019 advocacy letter alleged that an unknown ISU officer
              13                assaulted Armstrong class member                       and attempted to cuff him
              14                in violation of his valid, disability-related front-cuffing chrono. Ex. 11b.
              15               Plaintiffs’ June 28, 2019 advocacy letter alleged that Officer           denied
              16                accommodations to Armstrong class member                             after
              17                Ms.        filed a staff complaint against him. Ex. 51b.
              18               Plaintiffs’ May 24, 2019 letter alleged that Officer           Officer
              19                and Sergeant A.             assaulted Armstrong class member Lee
              20                before denying Mr.          his wheelchair, telling him to, “shut the fuck up,
              21                rat,” and forcing him to walk 200 yards without any assistive devices. Ex.
              22                47b.
              23               Plaintiffs’ April 18, 2019 letter alleged that Officer              grabbed
              24                Armstrong class member                        hand and cane and caused him to
              25                become unsteady before slamming his head into a table. Ex. 27b.
              26               Plaintiffs’ February 26, 2019 letter alleged that officers threw a person out of
              27                his walker before jumping on his back. Ex. 62.
              28               Plaintiffs’ January 8, 2019 letter alleged that Officer
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               1                orchestrated the assault of Armstrong class member                      in
               2                retaliation for           participation in the Armstrong joint audit in 2018.
               3                Ex. 38b.
               4               Plaintiffs’ March 2019 Report alleged that staff trapped Armstrong class
               5                member                    a wheelchair user, in his cell door for 15 minutes.
               6                Ex. 73.
               7               Plaintiffs’ March 2019 Report alleged that officers flipped Armstrong class
               8                member                    over while he was in his wheelchair on May 7,
               9                2018. Ex. 73.
              10               Plaintiffs’ October 2017 Report alleged that officers in Building 10
              11                commonly close cell doors on people with disabilities. Ex. 71.
              12               Plaintiffs’ April 2017 Report alleged that staff make discriminatory remarks
              13                to people with disabilities, like “go sit your crippled ass down.” Ex. 69.
              14               Plaintiffs’ September 2016 Report alleged that officers in Building 8
              15                commonly close cell doors on people with disabilities. Ex. 69.
              16         281.   CDCR did log some of the allegations included in Plaintiffs’ counsel’s
              17 advocacy letters and tour reports. CDCR did not, however, confirm any of those
              18 allegations. In addition, in seventeen instances, Defendants failed to initiate inquiries
              19 within ten business days of receipt of notice of allegations from Plaintiffs’ counsel. In
              20 twelve of these instances, more than 120 business days elapsed between Plaintiffs’ notice
              21 and the initiation of an inquiry by Defendants. In the case of Mr.           – who alleged
              22 that he was assaulted by staff in response to requesting an accommodation for his disability
              23 – a staggering 206 business days elapsed between Plaintiffs’ notice and the initiation of an
              24 inquiry.
              25         282.   I also reviewed the Accountability Logs to determine whether any of the
              26 allegations of staff misconduct made by people on Facility C who were interviewed by
              27 CDCR on December 4-5, 2018 were included on the Logs. Following those interviews,
              28 the lead investigator issued a report, which is attached as Exhibit 2, on December 10, 2018.
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               1 On pages 14-17 of the report, the lead investigator included a list of specific allegations of
               2 misconduct raised by forty-eight specific incarcerated people. The list included the
               3 incarcerated persons’ names and CDCR numbers. To determine whether CDCR included
               4 any of these allegations on its Accountability Logs, I used the search function in Adobe
               5 Acrobat to search for the CDCR numbers of each of the forty-eight incarcerated people
               6 listed on pages 14-17 of Exhibit 2. My review showed that none of the allegations from
               7 were included on the logs.
               8         283.   I also reviewed the Accountability Logs to determine the results of
               9 investigations into allegations of staff misconduct that Defendants did include on the Logs.
              10 For purposes of this review, I only considered log entries that involved the types of staff
              11 misconduct at issue in Plaintiffs’ motion, including allegations of assaults by officers,
              12 assaults by incarcerated people working for officers, officers closing cell doors on people,
              13 officers harassing people, officers retaliating against people, and officers using
              14 inappropriate language toward people with disabilities. I did not include any other
              15 allegations, including allegations solely involving denials of disability accommodations,
              16 such as denials of wheelchair pushers, incontinence supplies, or effective communication.
              17 From September 2016 to December 2019, Defendants logged thirty-two allegations of staff
              18 misconduct of the type at issue in this motion. CDCR confirmed only one such allegation,
              19 which involved officers closing a cell door on a person. CDCR referred two allegations to
              20 OIA.
              21 VI.     OTHER RELEVANT DOCUMENTS
              22         284.   Attached hereto as Exhibit 76 is a true and correct excerpted copy of
              23 Plaintiffs’ Report regarding the May 2019 Armstrong monitoring tour of California State
              24 Prison – Los Angeles County (“LAC”), issued on July 16, 2019.
              25         285.   Attached hereto as Exhibit 77 is a true and correct copy of a letter dated
              26 July 23, 2019 from Erin D. Anderson, CDCR Office of Legal Affairs, to Thomas Nolan,
              27 Plaintiffs’ counsel, responsive to allegations of staff misconduct raised in Plaintiffs’ May
              28 2019 Report of LAC.
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               1         286.    Attached hereto as Exhibit 78 is a true and correct copy of a letter with
               2 exhibits omitted dated April 10, 2019 from Thomas Nolan, Plaintiffs’ counsel, to Nicholas
               3 Weber, Melissa Bentz, Dillon Hockerson, and Jerome Hessick, CDCR Office of Legal
               4 Affairs, regarding allegations of staff misconduct against Coleman class members at LAC.
               5         287.    Attached hereto as Exhibit 79 is a true and correct copy of four letters dated
               6 February 13, 2020 from Alan L. Sobel, CDCR Officer of Legal Affairs, to Thomas Nolan,
               7 Plaintiffs’ counsel, responsive to Plaintiffs’ April 10, 2019 letter.
               8         288.    Attached hereto as Exhibit 80 is a true and correct copy of a letter dated
               9 January 24, 2020 from Margot Mendelson and Amber Norris, Plaintiffs’ counsel, to Russa
              10 Boyd and Nicholas Weber, CDCR Office of Legal Affairs, regarding allegations of staff
              11 misconduct against Armstrong class members at California Institution for Women.
              12         289.    Attached hereto as Exhibit 81 is a true and correct copy of a letter dated
              13 February 12, 2020 from Patrick Booth, Plaintiffs’ counsel, to Russa Boyd, CDCR Office
              14 of Legal Affairs, regarding allegations of staff misconduct against an Armstrong class
              15 member at California State Prison – Corcoran (“COR”), without the exhibits attached to
              16 the letter.
              17         290.    Attached hereto as Exhibit 82 is a true and correct copy of a letter dated
              18 February 14, 2020 from Patrick Booth and Margot Mendelson, Plaintiffs’ counsel, to
              19 Nicholas Weber, CDCR Office of Legal Affairs, regarding allegations of staff misconduct
              20 against a Coleman class member at California State Prison – Sacramento (“SAC”), without
              21 the exhibits attached to the letter.
              22         291.    Attached hereto as Exhibit 83 is a true and correct copy of excerpts from the
              23 confidential portion of the transcript for the January 29, 2020 deposition of Kimberly A.
              24 Seibel, Deputy Director of Facility Operations.
              25         292.    Attached hereto as Exhibit 84 is a true and correct copy of the transcript for
              26 the February 13, 2020 deposition of                   , a clinical psychologist at RJD.
              27         293.    Attached hereto as Exhibit 85 is a true and correct copy of a letter dated
              28 March 27, 2019 from Rita Lomio and Amber Norris, Plaintiffs’ counsel, to Russa Boyd,
                                                         71                             Case No. C94 2307 CW
                   DECL. OF M. FREEDMAN ISO MOTION TO STOP DEFS. FROM ASSAULTING, ABUSING & RETALIATING
[3496005.3]                      AGAINST PEOPLE W/ DISABILITIES AT R.J. DONOVAN CORR. FACILITY
               1 CDCR Office of Legal Affairs, regarding allegations of staff misconduct against
               2 Armstrong class members at SAC.
               3         294.     Attached hereto as Exhibit 86 is a true and correct excerpted copy of
               4 Plaintiffs’ Report regarding the April and June 2019 monitoring tour of the Substance
               5 Abuse Treatment Facility and State Prison, Corcoran, issued on August 14, 2019.
               6         295.     Attached hereto as Exhibit 87 is a true and correct excerpted copy of
               7 Plaintiffs’ Report regarding the August 2019 monitoring tour of SAC issued on
               8 January 10, 2020.
               9         296.     Attached hereto as Exhibit 88 is a true and correct copy of a declaration
              10 from Coleman class member                                       signed on January 8, 2020.
              11         297.     According to his declaration, Officer         threatened to “beat [Mr.
              12                ass” on August 3, 2019 in response to Mr.            attempts to obtain medical
              13 attention for an elderly Armstrong class member who was experiencing a medical
              14 emergency. Ex 88, ¶¶ 6-7. On November 21, 2019, Officer                refused Mr.
              15 access to the mental health services building for an appointment, and then yelled threats
              16 and insults at Mr.            which made him believe the officer was provoking him to fight.
              17 Id., ¶ 8.
              18         298.     On July 1, 2019, I participated in a telephone conference with Ursula Stuter
              19 and Russa Boyd (both from the CDCR Office of Legal Affairs), Kimberly Seibel (the then-
              20 Associate Director over the Reception Center Mission for CDCR headquarters), and
              21 Patrick Covello (the then-Acting Warden at RJD). The CDCR participants provided me
              22 with an update regarding Defendants’ efforts to remedy staff misconduct problems at RJD.
              23 They stated that these efforts included the hiring of a new captain for Facility C, the hiring
              24 of additional sergeants to conduct additional training on second and third watch on
              25 Facility C, the redirection of five employees off of Facility C, the replacement of staff in
              26 the Investigative Services Unit, changes to the process for collecting appeals on Facility C,
              27 the upgrading of existing cameras on Facility C, and the dismissal of three employees for
              28 staff misconduct. The CDCR participants also indicated that they were investigating forty-
                                                            72                           Case No. C94 2307 CW
                   DECL. OF M. FREEDMAN ISO MOTION TO STOP DEFS. FROM ASSAULTING, ABUSING & RETALIATING
[3496005.3]                      AGAINST PEOPLE W/ DISABILITIES AT R.J. DONOVAN CORR. FACILITY
               1 three specific allegations of misconduct discovered during interviews with incarcerated
               2 people on Facility conducted in December 2018. Lastly, Warden Covello indicated that
               3 the remaining yards at RJD would be getting camera coverage in FY 2019-20. None of the
               4 CDCR participants provided any information about the specific findings from the
               5 December 2018 interviews, including the findings regarding staff abuses of people with
               6 disabilities. Nor was I informed of the existence of the Bishop or       Reports.
               7         299.   Some of Plaintiffs’ counsel’s advocacy letters and Defendants’ responses to
               8 those letters were designated by the parties as attorneys’ eyes only. In advance of the
               9 filing of this motion, the parties met and conferred regarding those designations and
              10 agreed, on February 24, 2020, that the letters and responses are not attorneys’ eyes only
              11 and may be filed in court so long as the parties redact information in accordance with the
              12 existing protective orders in this case.
              13         300.   Attached hereto as Exhibit 89 is a true and correct copy of a video, produced
              14 by Defendants to Plaintiffs on February 26, 2020. Defendants have informed Plaintiffs
              15 that this video depicts the January 21, 2019 incident discussed in Paragraph 259, supra,
              16 involving                          At approximately 1:50 in the video, the video shows an
              17 officer throwing Mr.          to the ground from the seat of his walker. At approximately
              18 2:15, the video appears to show officers throwing Mr.          to the ground again.
              19 Attached hereto as Exhibit 90 is a true and correct copy of the same video, zoomed in on
              20 the area where the officer threw Mr.          to the ground. At approximately 0:30 into the
              21 zoomed-in video, officers can be seen throwing Mr.           to the ground from the seat of
              22 his walker. At approximately 0:55 into the video, the video appears to show officers
              23 throwing Mr.           to the ground again.
              24 / / /
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               1         I declare under penalty of perjury under the laws of the United States of America
               2 that the foregoing is true and correct, and that this declaration is executed at San Francisco,
               3 California this 27th day of February, 2020.
               4
               5                                                 /s/ Michael Freedman
                                                                 Michael Freedman
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